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COUNSEL FOR THE DEBTORS

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

IN RE:                                                           §
                                                                 §
RMR Operating, LLC, et al.,                                      §                CASE NO. 16-30988-11
                                                                 §                (Jointly Administered)
Debtors.                                                         §

                   DISCLOSURE STATEMENT IN CONNECTION
         WITH DEBTORS’ THIRD AMENDED JOINT PLAN OF REORGANIZATION

TO:         ALL PARTIES-IN-INTEREST, THEIR ATTORNEYS OF RECORD AND TO THE
            HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        RMR Operating, LLC, Red Mountain Resources, Inc., Cross Border Resources, Inc., and
Black Rock Capital, Inc. [collectively, the “Debtors”], as debtors and debtors-in- possession in
the above-captioned Chapter 11 Cases submit this Disclosure Statement [the “Disclosure
Statement”] pursuant to Section 1125 of the Bankruptcy Code1 for the purpose of disclosing that
information which the Bankruptcy Court has determined is material, important, and necessary for
parties entitled to vote on the Debtors’ Third Amended Joint Plan of Reorganization dated
August 27, 2018 [the “Plan”] in order to arrive at an intelligent, reasonably informed decision in
exercising the right to vote for acceptance or rejection of the Plan. This Disclosure Statement
describes transactions contemplated under the Plan. You are urged to study the Plan in full and to
consult with your counsel about the Plan and its impact upon your legal rights.

A.          Explanation of Chapter 11 and the Confirmation Process.

        Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Upon the
commencement of these chapter 11 Cases, or cases under any other chapter, Section 362 of the
Bankruptcy Code provides for an automatic stay of all attempts to collect upon claims against a
debtor that arose prior to the bankruptcy filing. Generally speaking, the automatic stay prohibits
interference with a debtor’s property or business.


1
    Unless otherwise defined herein, capitalized terms have the meaning ascribed to such term in the Plan.

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        Under chapter 11, a debtor attempts to reorganize for the benefit of the debtor and its
creditors. A plan of reorganization sets forth the means for satisfying all claims against a debtor.
Generally, a claim against a debtor arises from a normal debtor/creditor transaction, such as a
promissory note or a trade credit relationship, but may also arise from other contractual
arrangements or from alleged torts.

       After a plan of reorganization has been filed with a bankruptcy court, it must be accepted
by holders of impaired claims and interests against the debtor. Section 1125 of the Bankruptcy
Code requires that a plan debtor fully disclose sufficient information about the debtor, its assets
and the plan of reorganization to creditors before acceptances of that plan may be solicited. This
Disclosure Statement is being provided to satisfy such requirements of Section 1125 of the
Bankruptcy Code.

         The Bankruptcy Code provides that creditors and interests are to be grouped into
“classes” under a plan and that they are to vote to accept or reject a plan by class. While courts
have disagreed on the proper method to be used in classifying creditors, a general rule of thumb
is that creditors with similar legal rights are placed together in the same class. For example, all
creditors entitled to priority under the Bankruptcy Code might be placed in one class, while all
creditors holding subordinated unsecured claims might be placed in a separate class. Generally,
each secured creditor will be placed in a class by itself because each such creditor usually has a
lien on distinct property and therefore has distinct legal rights. Holders of Equity Interests are
also placed in their own class.

        The Bankruptcy Code does not require that each claimant vote in favor of the Plan for the
Bankruptcy Court to confirm the plan. Rather, the plan must be accepted by each class of
claimants [subject to an exception discussed below]. A class of claimants accepts the plan if, of
the claimants in the class who actually vote on the plan, such claimants holding at least
two-thirds in dollar amount and more than one-half in number of allowed claims vote to accept
the plan. For example, if a hypothetical class has ten creditors that vote and the total dollar
amount of those ten creditors’ claims is $1,000,000, then for such class to have accepted the plan,
six or more of those creditors must have voted to accept the plan [a simple majority], and the
claims of the creditors voting to accept the plan must total at least $666,667 [a two-thirds
majority].

        The Court may confirm a plan even though fewer than all classes of claims or interests
accept it. In this instance, the Plan must be accepted by the holder of the Equity Interests in the
debtor, or debtor is entitled to request that the Bankruptcy Court confirm the plan pursuant to the
“cramdown” provisions of Section 1129[b] of the Bankruptcy Code. These “cramdown”
provisions permit the plan to be confirmed over the dissenting votes of classes of claims or
interests if the Bankruptcy Court determines that the plan does not discriminate unfairly and is
fair and equitable with respect to each impaired, dissenting class of interests.

      Independent of the acceptance of the plan as described above, to confirm the plan, the
Bankruptcy Court must determine that the requirements of Section 1129[a] of the Bankruptcy
Code have been satisfied.


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        The Court has set a hearing on confirmation of the Plan for September 26, 2018 at 2:00
p.m. Central Time in the courtroom of the Honorable Barbara J. Houser, United States
Bankruptcy Court, 1100 Commerce Street, 14th Floor, Dallas, Texas 75242. The
confirmation hearing may be adjourned by the Bankruptcy Court from time to time without
further notice except for an announcement made in open court at the confirmation hearing or any
continued hearing thereon.

        Section 1128[b] of the Bankruptcy Code provides that any party in interest may object, in
writing, to confirmation of a plan of reorganization or the Disclosure Statement. Written
objections to confirmation of the Plan or the Disclosure Statement, if any, must be filed with the
Bankruptcy Court and a copy of such written objections must be actually received by counsel for
the Debtors at the following address on or before _________, 2018:

                                   SPECTOR & JOHNSON, PLLC
                                       12770 COIT ROAD
                                   BANNER PLACE, SUITE 1100
                                     DALLAS, TEXAS 75251

B.     Voting Procedures.

       1.      Designation of Impaired and Unimpaired Classes.

               a.     Impaired Classes. Classes 1RD, 1RR, 1CB, 1BR, 4RR, 4CB, 6CB, 6BR,
                      6RD, 6RR, and 7RD are impaired.

               b.     Unimpaired Class. Classes 2RR, 2CB, 2BR, 3RD, 3RR, 3CB, 3BR, 4RD,
                      5, 7RR,7CB, 7BR, and 8 are unimpaired.

               c.     Classes Entitled to Vote. Classes 1RD, 1RR, 1CB, 1BR, 4RR, 4CB, 6RD,
                      6CB, and 6BR are entitled to vote.

               d.     Classes Not Entitled to Vote. Classes 2RR, 2CB, 2BR, 3RD, 3RR, 3CB,
                      3BR, 4RD, 5, 7RR, 7CB, 7BR, 8RR, 8CB, and 8BR are deemed to accept
                      the Plan and are thus not entitled to vote. Class 6RR and Class 7RD are
                      deemed to reject the Plan and are thus not entitled to vote.

       2.      Ballots.

       IT IS IMPORTANT THAT HOLDERS OF IMPAIRED CLAIMS EXERCISE THEIR RIGHT TO
VOTE TO ACCEPT OR REJECT THE PLAN. All known holders of Claims entitled to vote on the
Plan have been sent a ballot, together with instructions for voting, with this Disclosure
Statement. In voting for or against the Plan, use only the ballot sent with this Disclosure
Statement.



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THE VOTING DEADLINE IS ______, 2018. ALL BALLOTS MUST BE RETURNED SO THAT THEY
ARE RECEIVED BY THE BALLOTING AGENT PRIOR TO THE VOTING DEADLINE. THE NAME AND
ADDRESS OF THE BALLOTING AGENT IS SET FORTH ON THE BALLOT.

C.     Approval of Disclosure Statement.

        This Disclosure Statement is provided pursuant to Section 1125 of the Bankruptcy Code
in connection with the solicitation of acceptance of the Plan, as it may be amended or modified.
The purpose of this Disclosure Statement is to provide such information as will enable a
hypothetical, reasonable investor, typical of the holders of Claims, to make an informed
judgment in exercising its rights either to accept or reject the Plan. A copy of the Plan is attached
hereto as “Exhibit A."

        The Bankruptcy Court approved this Disclosure Statement as containing information of
the kind and in sufficient detail adequate to enable a hypothetical, reasonable investor typical of
the classes being solicited to make an informed judgment about the Plan.

     NO REPRESENTATIONS CONCERNING THE PLAN ARE AUTHORIZED OTHER
THAN THOSE SET FORTH IN THIS DISCLOSURE STATEMENT. THE DEBTORS
RECOMMEND THAT ANY REPRESENTATION OR INDUCEMENT MADE TO SECURE
YOUR ACCEPTANCE OR REJECTION OF THE PLAN WHICH IS NOT CONTAINED IN THIS
DISCLOSURE STATEMENT SHOULD NOT BE RELIED UPON BY YOU IN REACHING
YOUR DECISION ON HOW TO VOTE ON THE PLAN. ANY REPRESENTATION OR
INDUCEMENT MADE TO YOU NOT CONTAINED HEREIN SHOULD BE REPORTED TO
THE ATTORNEY FOR THE DEBTORS WHO SHALL DELIVER SUCH INFORMATION TO
THE COURT FOR SUCH ACTION AS MAY BE APPROPRIATE.

      THE DEBTORS DO NOT WARRANT OR REPRESENT THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT, ALTHOUGH GREAT EFFORT HAS BEEN MADE TO
BE ACCURATE. THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
ARE MADE AS OF THE DATE HEREOF UNLESS ANOTHER TIME IS SPECIFIED HEREIN.
THIS DISCLOSURE STATEMENT CONTAINS ONLY A SUMMARY OF THE PLAN. THE
PLAN WHICH ACCOMPANIES THIS DISCLOSURE STATEMENT IS AN INTEGRAL PART
OF THIS DISCLOSURE STATEMENT, AND HOLDER OF AN IMPAIRED CLAIM OR EQUITY
INTEREST IS URGED TO CAREFULLY REVIEW THE PLAN PRIOR TO VOTING ON IT.

D.     Nature of the Debtors’ Business.

        The Debtors’ business is focused on the acquisition and efficient operation and
development of onshore oil and gas properties in the southwestern United States. The Debtors’
interest in such properties is obtained via written agreement (each, a “Lease”) with various third
parties who own mineral interests in oil, natural gas, and other minerals in place under a parcel of
land. Pursuant to such Leases, the Debtors have the right to enter and capture oil and natural gas
through exploration, drilling, and production operations (each such right, a “Working Interest”).
The Debtors own mineral interests and both full and partial Working Interests in oil and natural


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gas fields and Cross Border or RMR serves as operator for all of such Working Interests.
Currently, the Debtors own Working Interests in approximately 90 gross wells, most of which are
subject to joint operating agreements (“JOAs”). The Debtors must satisfy certain obligations to
maintain the Debtors’ Leases and ensure continued production. These obligations include the
Debtors’ pro rata share of: (a) proceeds generated from the Working Interests’ production
attributable to the Mineral Owners under the Leases, which are free from production expenses
(the “Royalty Obligations”); and (b) expenditures associated with the operators developing and
producing oil and natural gas from the Debtor Reserves (the “JOA Obligations,” and, together
with the Royalty Obligations, the “Oil and Natural Gas Obligations”). As operator, Cross
Border or RMR must perform day-to-day business activities such as extracting oil, natural gas,
and natural gas liquids (“NGLs”) and covering expenses incurred in such operations. The Oil
and Natural Gas Obligations, the Royalty Obligations and the JOA Obligations are neither
uniform nor predictable on a month-to-month basis. If the foregoing obligations go unsatisfied,
the Debtors’ business could suffer material adverse consequences, and the Debtors could
potentially lose their Working Interests.

E.     History of the Debtors

      The Debtors are Dallas-based companies with oil and natural gas properties in the
Permian Basin of West Texas and Southeast New Mexico.

        On April 21, 2015, certain Debtors entered into a purchase and sale agreement (the
“PSA”) with Black Shale. Pursuant to the PSA, those Debtors sold, assigned, transferred and
conveyed to Black Shale, effective as of April 1, 2015, fifty percent (50%) of its right, title, and
interest in and to certain oil and natural gas assets and properties, including its oil and natural gas
leasehold interests, wells, contracts, and oil and natural gas produced after April 1, 2015. The
aggregate purchase price under the PSA was $25.0 million, subject to certain adjustments,
including post-closing adjustments for any title or environmental benefits or title or
environmental defects resulting from Black Shale’s title and environmental reviews.

F.     Assets of the Debtors

        The Debtors’ remaining oil and natural gas properties are concentrated in the Permian
Basin, and Southwest New Mexico. The Permian Basin covers an area approximately 250 miles
wide and 300 miles long in West Texas and Southeast New Mexico. The Permian Basin is one of
the most prolific onshore oil and natural gas producing regions in the United States. It is
characterized by an extensive production history, mature infrastructure, long reserve life and
hydrocarbon potential in multiple producing formations.

       The following is description of the Debtors’ properties:

Permian Basin:

Tom Tom Area. The Debtors own oil and natural gas interests in approximately 27,800 gross
(11,200 net) acres in the Tom Tom and Tomahawk fields in Chaves and Roosevelt Counties,

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New Mexico through the Debtors’ ownership of Cross Border. Cross Border is the operator of
these leases. The target formation in the area is the San Andres reservoir, which is productive
across the trend with the Cato field to the west and the Chaveroo field to the east.

Cowden Lease. The Debtors own oil and natural gas interests in 760 gross (740 net) acres plus 48
acres of surface property in the Cowden Lease in Ector County, Texas. The Cowden Lease is
held by production. RMR Operating is the operator of the Cowden Lease. The Cowden Lease is
located between the Harper and Donnelly San Andres fields on the Central Basin Platform and
produces from the Grayburg and San Andres formations.

Shafter Lake Lease. The Debtors own oil and natural gas interests in 322 gross (186 net) acres
within the Shafter Lake San Andres field in Andrews County, Texas. The Shafter Lake Lease is
horizontally severed at 4,520 feet and is held by production. The Debtors own all rights from the
surface of the land to approximately 4,520 feet below the surface of the land. RMR Operating is
the operator of the Shafter Lake Lease.

Maralo Prospect. The Debtors own oil and natural gas interests in 320 gross (160 net) acres in the
Maralo Prospect in Lea County, New Mexico. This acreage targets the Tansill, Yates and
Delaware formations. RMR Operating is the operator of the Maralo Prospect.

New Mexico Non-Permian Minerals

Cross Border owns 536,526 gross (134,085 net) mineral acres in Hidalgo, Grant, Sierra, Socorro,
and De Baca Counties, New Mexico. This mineral ownership carries no drilling commitments or
leasehold obligations.

Summary of Acreage Owned

                             Cross Border         Black Rock Acreage           RMR Acreage
                                Acreage
                           Gross      Gross          Net         Gross        Net         Gross
 Northwest Shelf           27,837     11,204
 New Mexico               536,526    134,085
 Minerals
 Delaware Basin                                      320          158         320          1.6
 Central Basin
 Platform                                           1,419        1,262        760          3.8

Summary of Liquid and Tangible Assets

The Debtors’ books and records currently reflect the following assets (rounded to the nearest
‘000s):

       Debtor             Real Estate     Unrestricted      Restricted   A/R (excluding          Other
                                             Cash             Cash       Intercompany           Tangible

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                                                                                                  Claims)               Assets
Red Mountain                            $0                  $0                  $0                   $0                $15,000
RMR                                   $5,000              $8,000             $244,000              $31,000             $75,000
Black Rock                           $55,000             $213,000               $0                   $0                  $0
Cross Border                            $0                $3,000             $652,000             $269,000               $0

G.         Liabilities

        Pre-petition scheduled unsecured liabilities (exclusive of Intercompany Claims) for each
of the Debtors were as follows:

                Red Mountain                     RMR                    Cross Border                 Black Rock
                  $601,256                     $1,230,855                 $410,042                     $22,600

       The Debtors have not attempted to reconcile the filed Proofs of Claim to the amounts
above because significant (and often duplicative) claims have been filed against multiple
Debtors, often based on claims which are disputed by the Debtors. If those Contested Claims are
ultimately Allowed, they could have a significant impact on the percentage recovery of enjoyed
by holders of Allowed Claims.2 Additionally, claims of Interest Burden Payees have been paid in
the Black Rock and RMR estates which have reduced the pre-petition liabilities of these Debtors.

       The Debtors are generally current with their Post-Petition payables. Post-Petition legal
Claims are not expected to exceed $100,000.

        Intercompany Claims are not being paid under the Plan. As of July 31, 2018, the
Debtors’ books and records show a net intercompany receivable in the approximate amount of
$3.6 million (owed by Red Mountain, Cross Border and RMR). Red Mountain, Cross Border
and RMR do not have the ability to make any material distribution on this claim at the current
time, and the Plan Funder is not willing to inject additional capital to Red Mountain and does not
project any ability to raise capital for Cross Border unless these intercompany liabilities are
extinguished under the Plan.

H.         Directors, Executive Officers and Corporate Governance

        The following sets forth information about those directors and officers who are expected
to continue on in a management role with the Reorganized Debtors.

        1.     Alan W. Barksdale has been the Red Mountain’s President, Chief Executive
Officer and Chairman of the Board since June 2011 and served as the Debtors’ Interim Acting
Chief Financial Officer from June 2011 to August 2011. Mr. Barksdale has served as President of
Black Rock since May 2010. Mr. Barksdale has also been the owner and president of StoneStreet
Group, Inc. (“StoneStreet”) Mr. Barksdale has served as the Non-Executive Chairman of the
Board for Cross Border since April 2012. Mr. Barksdale has served as the President of RMR

2   For this analysis, please refer to the sensitivity analysis contained in Section J of this Disclosure Statement.

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since June 2011. Mr. Barksdale has served as president and manager of StoneStreet Operating
Company, LLC (“StoneStreet Operating”), since 2008. Mr. Barksdale has also been the
president of AWB Enterprises, Inc., a holding company that owns a percentage of StoneStreet
Operating, since November 2011.

        2.      Richard F. LaRoche Jr was appointed as a director of Cross Border effective
January 3, 2011. Mr. LaRoche served 27 years with National HealthCare Corporation (“NHC”)
as Secretary and General Counsel and 14 years as Senior Vice President, retiring from these
positions in May 2002. He has served as a Board member of NHC since 2002. Mr. LaRoche
serves as a director of Lodge Manufacturing Company (privately held). He also served on the
boards of National Health Investors, Inc. from 1991 through 2008, National Health Realty, Inc.
from 1998 through 2007 and Trinsic, Inc. from 2004 through 2006. Mr. LaRoche continues to
serve on NHC’s Board of Directors and on that Board’s Audit Committee, Nominating and
Corporate Governance Committee and Compensation Committee.

        3.       John W. Hawkins was appointed as a director of Cross Border effective January 3,
2011. Mr. Hawkins has over 30 years experience in management and accounting for NYSE listed
companies. He previously served as interim CFO of Pure L.P. and Aztec Energy Partners. In
2002, he retired as VP-Treasurer of Dillard Department Stores after 28 years of service. As VP-
Treasurer of Dillard’s, he managed the treasury department, assisted with the annual audits,
managed payroll department, tax department, accounts payable department, worker’s
compensation and general liability department, and the employee benefits department. He was
one of the 401(k) and pension plan administrators. He was heavily involved in the acquisition of
16 companies totaling approximately $2.5 billion in revenue. Mr. Hawkins received a BBA with
a major in accounting from Midwestern University. Mr. Hawkins qualifies as an audit committee
financial expert. In addition, his experience with publicly traded companies and his historical
knowledge of the Pure operations and assets prior to the Pure merger were significant factors that
led to his election to the Board. Mr. Hawkins has served on the board of directors of the Self
Insurance Institute of America, Ronald McDonald House of Little Rock, Texas Self Insured
Association, and as chairman of the advisory board of Certergy Inc.

I.     History of the Case.

       The Debtors filed for bankruptcy protection on March 8, 2016, primarily as a result of
Independent Bank. The firm of Spector & Johnson, PLLC was appointed bankruptcy counsel for the
Debtors by Order of the Bankruptcy Court entered on April 21, 2016.

       The Debtors sought and obtained approval of a sale and bidding process (the “Sale Process”)
to ensure that their estates realize the maximum value for the Debtors’ assets. As part of the Sale
Process, the Debtors developed and obtained approval of bidding procedures (“Bidding
Procedures”). Specifically, on June 22, 2016, the Court entered the Order Approving Sale and
Bidding Procedures in Connection with Sale of Assets of the Debtors and Granting Related Relief
[Docket No 118] (the “Bidding Procedures Order”), including procedures governing the Debtors’




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assumption and assignment of any Assumed and Assigned Contract.3 The Sale Process was
managed by Northland Securities, Inc. the Debtors’ approved investment banker. Black Mountain
Operating, LLC was the ultimate purchaser of certain assets of the Debtors for the purchase price of
$6.7 million. Pursuant to subsequent orders of the Bankruptcy Court, the Allowed Secured Claims of
Independent Bank and royalty interest holders relating to the purchased assets were paid from the
sale proceeds.

        The Debtors also were involved in substantial litigation during the bankruptcy case with
Black Shale. In April 2016, Black Shale attempted to permit Black Shale to replace the Debtors as
operator of certain properties which the Debtors co-owned with Black Shale. The Bankruptcy Court
denied Black Shale’s request for emergency relief as well as the remaining relief requested by Black
Shale after an extended hearing in September of 2016. Nevertheless, the dispute between Black
Shale and the Debtors continued through 2018. Specifically, as the owner of the undivided 50%
interest in certain of the Debtors’ oil and gas leases and related interests, Black Shale was obligated
to pay joint interest billings which now exceed $500,000.00. Despite this obligation, Black Shale
remained delinquent in such payments at all times post-petition. Accordingly, in September 2017,
Cross Border filed lawsuits in New Mexico state courts (including any proceeding removed from
Federal Court or transferred, the “New Mexico Litigation”) seeking money damages and foreclosure
of Black Shale’s interest in certain oil and gas leases. Black Shale answered the New Mexico
Litigation and asserted defenses to Cross Border’s allegation regarding the payments required and the
other allegations made in the New Mexico Litigation. Black Shale also removed the New Mexico
Litigation to the United States District Court for the District of New Mexico. On January 8, 2018, the
United States District Court for the District of New Mexico ordered the transfer of the New Mexico
Litigation to the Northern District of Texas.

        In March 2018, Black Shale and the Debtors reached a resolution with respect to the New
Mexico Litigation, the unpaid balance of Black Shale’s joint interest billings, and certain amounts
owed to Black Shale by the Debtors. The terms of the parties’ agreement were memorialized in a
comprehensive settlement agreement but resulted in the reconveyance of Black Shale’s mineral
interests within Lea, Roosevelt and Chaves Counties, New Mexico, and Ector County, Texas and
certain other property. The parties also entered into mutual releases except for certain remaining
obligations of the Debtors and Black Shale related to specific environmental remediation. This
settlement was approved by the Bankruptcy Court in April 2018.

       The other major event which has occurred during the Chapter 11 Cases, is that the New
Mexico Oil Conservation Division has required the Debtors to engage in unanticipated
environmental remediation, and plugging and abandonment activities, which has diminished the
Debtors available cash. While the Debtors believe that their near-term environmental remediation,
and plugging and abandonment are nearing completion, this unanticipated use of available cash has
dramatically reduced amounts available for dividends to creditors in these Chapter 11 Cases.

J.         Description of Plan of Reorganization.

           1.       General Summary
3
     Capitalized terms used in this Section shall have the meaning ascribed to them in the Bidding Procedures Order.

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         The Plan proposes a streamlining of the Debtors operations by eliminating Red
 Mountain’s ownership of the operating subsidiaries, Black Rock, RMR, and Cross Border. If the
 Plan is confirmed, Red Mountain will be dissolved and all holders of Allowed Interests in Red
 Mountain will receive no distribution under the Plan. Red Mountain’s ownership of its operating
 subsidiaries will be transferred to holders of Allowed Class 4RR Claims and Allowed Class 4CB
 Claims making the Stock Election and to the Plan Funder, StoneStreet. Thus, Black Rock and
 RMR will become wholly-owned subsidiaries of Cross Border. Cross Border will be the new
 parent entity for the Reorganized Debtors owned by the Plan Funder, holders of Allowed Class
 4RR Claims and Allowed Class 4CB Claims, and any other existing Allowed Interest Holders of
 Cross Border.

        Allowed Secured Claims of Ad Valorem Taxing Authorities are paid in full in two equal
 payments without penalty accruing after the Petition Date. These payments are to be completed
 within six [6] months of the Effective Date.

         Holders of claims entitled to priority are paid in full. Certain such holders, namely
 employees of RMR and Cross Border, are provided an option to participate as owners of the
 Reorganized Debtors by making the Stock Election. One person, Mr. Folsom, has filed a Proof
 of Claim asserting a priority claim against Red Mountain which exceeds the statutory maximum
 for such claims. The Debtors intend to object to this claim in toto.

        Interest Burden Payees, Mineral Owners, and Black Shale are provided unimpaired
 treatment. That is, all rights of such parties existing under state law are preserved.

         Holders of Allowed General Unsecured Claims against Black Rock and Red Mountain
 receive distributions from the Black Rock Available Cash and the Red Mountain Available Cash,
 the majority of which is being contributed by the Plan Funder. The Debtors predict that based
 upon the Debtors’ Schedules, this will result in a 16% distribution to Holders of Allowed Class
 6RD Claims and a 100% distribution to Holders of Allowed Class 6BR Claims. However, if
 unscheduled claims are allowed against either of these entities, distributions could be diminished.
 General Unsecured creditors of RMR receive no distribution. Holders of General Unsecured
 Claims against Cross Border are paid in full over a 10 year time horizon beginning one year after
 the Effective Date. The following sensitivity analysis describes the amounts of General
 Unsecured Claims against each Debtor and the potential resulting distributions:

      Debtor             Estimated           Estimated Scheduled Estimated %           Estimated %
                     Scheduled General        General Unsecured  Distribution          Distribution
                     Unsecured Claims        Claims Outstanding   Based on              Based on
                        Outstanding          Including Contested  Scheduled             Contested
                                                    Claims          Claims                Claims
 Red Mountain              $601,000               $1,650,000          16%                    2%
 Black Rock                 $23,000                $460,000          100%                   16%
 Cross Border              $410,000                $880,000          100%                  100%



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       2.     Specific Treatment of Classes

              a.     Classes 1RD, 1RR, 1CB and 1BR – Any Allowed Secured Claims of Ad
                     Valorem Taxing Authorities. The Plan provides that on the later of the
                     Effective Date or the day upon which a Contested Class 1RD, 1RR, 1CB
                     or 1BR Claim becomes Allowed, in full and final satisfaction of its
                     Allowed Secured Claim, each holder of an Allowed Secured Claim in
                     Class 1RD, 1RR, 1CB or 1BR shall receive two equal Cash payments of
                     such Allowed Secured Claim without penalties accruing after the Petition
                     Date. The first payment shall be made on the Effective Date and the second
                     payment shall be made six [6] months following the Effective Date. For
                     purposes of calculating the amount of a Class 1 Allowed Secured Claim,
                     Claims in Class 1RD, 1RR, 1CB or 1BR shall bear interest from and after
                     the Petition Date at the rate provided under applicable non-bankruptcy
                     law. In the event of an objection to a Claim in this Class, any payments
                     made to the holder of such Claim on account of such Claim while the
                     objection is pending shall be applied to the undisputed amount of the
                     Claim. Any Ad Valorem Taxing Authority shall retain its Liens to secure
                     its Allowed Class 1RD, 1RR, 1CB or 1BR Claim until the Allowed
                     Secured Claim is paid.

              b.     Classes 2RR, 2CB and 2BR – Any Allowed Claims of Interest Burden
                     Payees. The Plan provides that on the later of the Effective Date or the day
                     upon which a Contested Class2RR, 2CB or 2BR Claim becomes Allowed,
                     in full and final satisfaction of its Allowed Class 2RR, 2CB or 2BR Claim,
                     each holder of an Allowed Secured Claim in Class 2RR, 2CB or 2BR shall
                     receive a Cash payment equal to such Allowed Class 2RR, 2CB or 2BR
                     Claim, with interest as provided under applicable non-bankruptcy law.
                     Notwithstanding any contractual provision or applicable law that entitles
                     the holder of an Allowed Class 2RR, 2CB or 2BR Claim to demand or
                     receive accelerated payment of such claim after the occurrence of a
                     default, unless an objection to Plan is received demanding cure of a
                     specified default, entry of the Confirmation Order shall:

                          i. be deemed to cure any default that occurred before or after the
                             Petition Date, other than a default of a kind specified in
                             Bankruptcy Code Section 365 [b][2];
                         ii. reinstate the maturity of such Allowed Class2RR, 2CB or 2BR
                             Claim as such maturity existed before such default;
                        iii. finally determine that no compensation is due the holder of such
                             Allowed Class2RR, 2CB or 2BR Claim for any damages incurred
                             as a result of any reasonable reliance by such holder on such
                             contractual provision or such applicable law, including but not
                             limited to any attorney’s fees or costs associated with enforcement


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                            of such Interest Burden Payee’s Allowed Class 2RR, 2CB or 2BR
                            Claim; and
                        iv. otherwise leave unaltered the legal, equitable, or contractual rights
                            of such holder of such Allowed Class 2RR, 2CB or 2BR Claim.

              c.    Class 3RD[A] through 3RD[Z], 3RR[A] through 3RR[Z], 3CB[A]
                    through 3CB[Z], and 3BR[A] through 3BR[Z] –Any Allowed Secured
                    Claims not Otherwise Classified. The Plan provides that on the later of the
                    Effective Date or the day upon which a Contested Class 3RD, 3RR, 3CB
                    or 3BR Claim becomes Allowed, in full and final satisfaction of its
                    Allowed Class 3RD, 3RR, 3CB or 3BR Claim, each holder of an Allowed
                    Class 3RD, 3RR, 3CB or 3BR Claim against a Debtor, shall receive, at the
                    applicable Reorganized Debtor’s option, either [i] a Cash payment in the
                    amount of such holder’s Allowed Class 3RD, 3RR, 3CB or 3BR Claim;
                    [ii] payment pursuant to the pre-Petition Date agreements between such
                    holder and such applicable Debtor and retention of its Liens to secure the
                    payment of the Allowed Class 3RD, 3RR, 3CB or 3BR Claim, or [iii] the
                    surrender to such holder of all Collateral securing such Allowed Class
                    3RD, 3RR, 3CB or 3BR Claim in accordance with In re Sandy Ridge
                    Development Corp, 881 F.2d 1346 [5th Cir. 1989], in which case such
                    Allowed Class 3RD, 3RR, 3CB or 3BR Claim shall be deemed paid in full
                    and fully satisfied and any deficiency thereon shall be treated as a Class 6
                    General Unsecured Claim against the Debtor which is liable for the
                    Allowed Class 3 Claim. For purposes of the Plan, each Allowed Class
                    3RD, 3RR, 3CB or 3BR Claim shall be deemed separately classified into a
                    subclass by Debtor [e.g., 3RD[A], 3RD[B], 3RR[A], 3RR[B], 3CB[A],
                    3CB[B], 3BR[A], 3BR[B]] and the election made above made be made
                    independently as to each such subclass. In the event that a Reorganized
                    Debtor elects to provide the treatment referenced under [ii] of this
                    paragraph, and notwithstanding any contractual provision or applicable
                    law that entitles the holder of an Allowed Class 3RD, 3RR, 3CB or 3BR
                    Claim to demand or receive accelerated payment of such claim after the
                    occurrence of a default, unless an objection to Plan is received demanding
                    cure of a specified default, entry of the Confirmation Order shall:

                        i.   be deemed to cure any default that occurred before or after the
                             Petition Date, other than a default of a kind specified in
                             Bankruptcy Code Section 365[b][2];
                       ii.   reinstate the maturity of such Allowed Class 3RD, 3RR, 3CB or
                             3BR Claim as such maturity existed before such default;
                      iii.   finally determine that no compensation is due the holder of such
                             Allowed Class 3RD, 3RR, 3CB or 3BR Claim for any damages
                             incurred as a result of any reasonable reliance by such holder on
                             such contractual provision or such applicable law including but not
                             limited to any attorney’s fees or costs associated with enforcement


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                            of such holder’s Allowed Class 3RD, 3RR, 3CB or 3BR Claim;
                            and
                      iv.   otherwise leave unaltered the legal, equitable, or contractual rights
                            of such holder of such Allowed Class 3RD, 3RR, 3CB or 3BR
                            Claim.

                    Notwithstanding the foregoing, the Reorganized Debtors and any holder of
                    an Allowed Secured Claim may agree to any alternate treatment of such
                    Secured Claim, which treatment shall include preservation of such
                    holder’s Lien; provided, however, that such treatment shall not provide a
                    return to such holder of an amount having a present value in excess of the
                    amount of such holder’s Allowed Secured Claim. Each such agreement
                    shall be presented to the Bankruptcy Court before or within 90 days after
                    the Effective Date and shall not materially and adversely impact the
                    treatment of any other creditor under the Plan.

              d.    Class 4RD – Any Allowed Priority Non-Tax Claim Against Red Mountain.
                     The Plan provides that on the later of the Effective Date or the day upon
                    which a Contested Class 4RD Claim becomes Allowed, in full and final
                    satisfaction of its Allowed Class 4RD Claim, each holder of an Allowed
                    Claim in Class 4RDshall receive a Cash payment equal to such Allowed
                    Class 4RD Claim.

              e.    Class 4RR – Any Allowed Priority Non-Tax Claim Against RMR. The Plan
                    provides that on the later of the Effective Date or the day upon which a
                    Contested Class 4RR Claim becomes Allowed, in full and final
                    satisfaction of its Allowed Class 4RR Claim, each holder of an Allowed
                    Claim in Class 4RR shall receive at the option of the holder of the
                    Allowed Class 4RR Claim either [i] a Cash payment equal to such
                    Allowed Class 4RR Claim; or [ii] a Pro Rata Share of 5% of the Equity
                    Interest in Cross Border calculated based upon the total Allowed amount
                    of each holder of an Allowed Class 4RR Claim and Allowed Class 4CB
                    Claim making the Stock Election. Any holder of an Allowed Class 4RR
                    Claim making the Stock Election shall receive no distribution on such
                    holder’s Allowed Class 6RR Claim.

              f.    Class 4CB – Any Allowed Priority Non-Tax Claim Against Cross Border.
                    The Plan provides that on the later of the Effective Date or the day upon
                    which a Contested Class 4CB Claim becomes Allowed, in full and final
                    satisfaction of its Allowed Class 4CB Claim, each holder of an Allowed
                    Claim in Class 4CB shall receive at the option of the holder of the
                    Allowed Class 4CB Claim either [i] a Cash payment equal to such
                    Allowed Class 4CB Claim; or [ii] a Pro Rata Share of 5% of the Equity
                    Interest in Cross Border calculated based upon the total Allowed amount
                    of each holder of an Allowed Class 4RR Claim and Allowed Class 4CB


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                    Claim. Any holder of an Allowed Class 4CB Claim making the Stock
                    Election shall receive no distribution on such holder’s Allowed Class 6CB
                    Claim.

              g.    Classes 5– Any Allowed Claims of Black Shale. The Plan provides that
                    Black Shale shall retain all rights under its agreements with the Debtors.
                    Confirmation of the Plan shall

                       i.   be deemed to cure any default that occurred before or after the
                            Petition Date, other than a default of a kind specified in
                            Bankruptcy Code Section 365 [b][2];
                      ii.   reinstate the maturity of such Allowed Class 5 Claim as such
                            maturity existed before such default;
                     iii.   finally determine that no compensation is due the holder of such
                            Allowed Class 5 Claim for any damages incurred as a result of any
                            reasonable reliance by such holder on such contractual provision or
                            such applicable law including but not limited to any attorney’s fees
                            or costs associated with enforcement of such holder’s Allowed
                            Class 5 Claim; and
                     iv.    otherwise leave unaltered the legal, equitable, or contractual rights
                            of such holder of such Allowed Class 5 Claim.

              a.   Class 6RD –Any Allowed General Unsecured Claims against Red
                   Mountain. The Plan provides that on the later of the Effective Date or the
                   day upon which a Contested General Unsecured Claim in Class 6RD
                   becomes Allowed, each holder of an Allowed General Unsecured Claim in
                   Class 6RD shall receive, in full and final satisfaction of such Allowed
                   Claim, a Cash payment equal to its Pro Rata Share of the Red Mountain
                   Available Cash after the payment of the Claims of holders of Allowed Class
                   4RD Claims.

              b.   Class 6RR –Any Allowed General Unsecured Claims against RMR. The
                   Plan provides that on holders of Allowed Claims in Class 6RR shall receive
                   no distribution on account of their Claims.

              c.   Class 6CB – Any Allowed General Unsecured Claims against Cross
                   Border. The Plan provides that on the later of the Effective Date or the day
                   upon which a Contested General Unsecured Claim in Class 6CB becomes
                   Allowed, each holder of an Allowed General Unsecured Claim in Class
                   6CB shall receive, in full and final satisfaction of such Allowed Claim,
                   deferred quarterly Cash payments beginning one [1] year following the
                   Effective Date and ending on the 11th anniversary of the Effective Date in
                   an amount necessary to amortize such holder’s Allowed Class 6CB Claim
                   over a eleven [11] year period with interest at the Federal Judgment Rate.



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              d.   Class 6BR –Any Allowed General Unsecured Claims against Black Rock.
                   The Plan provides that on the later of the Effective Date or the day upon
                   which a Contested General Unsecured Claim in Class 6BR becomes
                   Allowed, each holder of an Allowed General Unsecured Claim in Class
                   6BR shall receive, in full and final satisfaction of such Allowed Claim, a
                   Cash payment in equal to its Pro Rata share of the Black Rock Available
                   Cash.

              e.   Class 7RD –Equity Interests in Red Mountain. The Plan provides that on
                   existing Equity Interests in Red Mountain will be extinguished.
                   Accordingly, holders of Class 7RD Equity Interests will not retain their
                   Equity Interests in Red Mountain. Red Mountain will be dissolved under
                   applicable non-bankruptcy law.

              f.   Class 7RR – Equity Interests in RMR. The Plan provides that Equity
                   Interests in RMR held by Red Mountain will be transferred to Cross
                   Border.

              g.   Class 7CB – Equity Interests in Cross Border. The Plan provides that (i)
                   5% of the Equity Interests in Cross Border held by Red Mountain will be
                   transferred to holders of Allowed Class 4RR Claims and Allowed Class
                   4CB Claims making the Stock Election; (ii) the remaining 78% of the
                   Equity Interests in Cross Border held by Red Mountain will be transferred
                   to the Plan Funder; and (ii) any other Holders of Equity Interests in Class
                   7CB will retain their Equity Interests in Cross Border.

              h.   Class 7BR – Equity Interests in Black Rock. The Plan provides that all
                   Equity Interests in Black Rock held by Red Mountain will be transferred to
                   Cross Border.

              i.   Class 8RR, 8CB and 8BR - Any Allowed Claims of Mineral Owners against
                   RMR, Cross Border or Black Rock. The Plan provides that Mineral
                   Owners with Allowed Claims against RMR, Cross Border or Black Rock
                   shall retain all rights under their agreements with the Debtors.
                   Confirmation of the Plan shall

                       i.   be deemed to cure any default that occurred before or after the
                            Petition Date, other than a default of a kind specified in
                            Bankruptcy Code Section 365 [b][2];
                      ii.   reinstate the maturity of such Allowed Class 8RR, 8CB or 8BR
                            Claim as such maturity existed before such default;
                     iii.   finally determine that no compensation is due the holder of such
                            Allowed Class 8RR, 8CB or 8BR Claim for any damages incurred
                            as a result of any reasonable reliance by such holder on such
                            contractual provision or such applicable law including but not

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                                limited to any attorney’s fees or costs associated with enforcement
                                of such holder’s Allowed Class 8RR, 8CB or 8BR Claim; and
                          iv.   otherwise leave unaltered the legal, equitable, or contractual rights
                                of such holder of such Allowed Class 8RR, 8CB or 8BR Claim.

 K.     Feasibility Analysis.

         Cross Border., as a Reorganized Debtor, intends to raise additional capital to fund the
 payments to holders of Allowed General Unsecured Claims against Cross Border by issuing up to
 5,000 units (“Units”) for $1,000 per Unit. Each Unit consists of direct working interest and one
 warrant with each warrant entitling the purchaser to purchase up to 3,467 shares of Cross Border
 common stock. The Units will not be issued or certificated. The warrants and working interest are
 immediately separable and will be issued separately, but will be purchased together as a Unit. Each
 Unit investor will receive a proportionate share of direct working interest ownership in the following
 wells:

 Name of Project           Location              Description          Project Cost        Net Project
                                                                        (8/8ths)             Cost
 Tom Tom-             Chaves Cty, NM        New Vertical –               $1,500,000        $1,500,000
 Tomahawk                                   3 wells
 Tom Tom-             Chaves Cty, NM        New Horizontal –              $1,700,000        $1,700,000
 Tomahawk                                   1 well
 Cowden               Ector Cty, TX         Behind Pipe WO –                $350,000          $350,000
                                            1 well
 Shafter Lake         Andrews Cty, TX       New Vertical –                $2,500,000        $1,500,000
                                            5 wells

 The ownership will be a proportionate share of 75% before payout and will be reduced to 25% after
 payout. The interest will be subject to the relevant joint operating agreements associated with the
 properties. Each warrant will have an exercise price of $.01 per share. The warrants are exercisable
 beginning on the date of original issuance and ending on the date that is five years after the date of
 original issuance.

 The Debtors’ principals have extensive experience in raising capital for oil and gas exploration
 companies. The Debtors’ raised in excess of $25 million in direct equity from accredited investors to
 fund prior operations without any institutional participation. The Debtors’ principals know of at
 least 5 accredited investors, including 2 current owners of Cross Border common equity, who have
 tentatively expressed an interest in purchasing the Units, and are prepared to fund the purchase of
 1,000 Units themselves if other investors cannot be located. Additionally, the Debtors’ principals
 believe that the favorable tax treatment of the funding structure and the right of existing equity
 holders to retain their equity interests in Cross Border under the Plan will provide a sufficient target
 investor base for the offering of the Units to be successful.

 Based on the projected offering of Units, the management of the Debtors has prepared the
 projected financial information attached hereto as “Exhibit B” [the “Projections”] in connection

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 with the development of the Plan to present the projected effects of the Plan and the payments
 contemplated hereby. Based on these Projections, the Debtors believe that the Plan is feasible.

 L.     Rationale and Legal Basis for the Treatment of Claims.

        1.      Black Rock

         Black Rock holds the vast majority of assets of the Debtors, and few undisputed, non-
 contingent liabilities. If the Debtors’ books and records are correct, creditors of Black Rock
 would be paid a 100% return on claims and Red Mountain might receive a dividend on account
 of its ownership interest in Black Rock. However, Black Rock lacks the ability to operate its
 properties independently (because it is not a licensed operator). Further, Black Rock is liable for
 plugging and abandonment costs not currently reflected on its books (which the Debtors estimate
 exceed $600,000). Upon information and belief, federal and state Governmental Units would
 prevent any equity distribution to Red Mountain until such liabilities are bonded or paid, and any
 new operator would require a fully-funded indemnity in order to continue operations of Black
 Rock’s properties. Under either scenario, these obligations would deplete all of Black Rock’s
 remaining assets. Accordingly, the Debtors believe that a $75,000 distribution to holders of
 Allowed General Unsecured Claims against Black Rock far exceeds any reasonable estimate of
 the likely dividend to such holders in the absence of the Plan. Such distribution can only be
 made under the Plan since the Plan provides the only known mechanism for a licensed operator
 (i.e. Cross Border) to continue operations without depleting all of Black Rock’s existing
 resources. The Debtors do not believe that the so-called “absolute priority rule” is implicated
 because Red Mountain, which holds a 100% equity interest in Black Rock, is not retaining its
 interest in Black Rock. Rather, such interest is being transferred to Cross Border.

        2.      RMR

          RMR holds less than $125,000 of unrestricted tangible assets and less than $250,000 of
 restricted cash. Employees are scheduled to hold $147,000 in Allowed Claims against RMR.
 Other General Unsecured Claims against RMR are scheduled at $1.39 million (excluding
 Intercompany Claims). RMR lacks the ability to operate its properties independently (because
 RMR owns an insufficient critical mass of property alone) and lacks sufficient capital to operate
 on a going-forward basis or to fund the expenses required to gain access to its unrestricted cash.
 Further, RMR is liable for plugging and abandonment costs not currently reflected on its books
 (which the Debtors estimate exceed $750,000). Accordingly, the Debtors do not foresee any
 scenario under which a distribution to holders of Allowed General Unsecured Claims against
 RMR can be justified and nor could Red Mountain receive a dividend on account of its
 ownership interest in RMR. The Debtors do not believe that the so-called “absolute priority
 rule” is implicated because Red Mountain, which holds a 100% equity interest in RMR, is not
 retaining its interest in RMR. Rather, such interest is being transferred to Cross Border.

        3.      Cross Border




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         With potential assets (including bonds and restricted cash) of over $900,000, Cross
 Border has the potential to make a material distribution to holders of General Unsecured Claims
 against Cross Border. However, Cross Border lacks the ability to operate its properties currently
 because of insufficient working capital and lacks the ability to complete the work necessary to
 release the restrictions on much of its cash assets. Further, Cross Border is liable for plugging
 and abandonment costs not currently reflected on its books (which the Debtors estimate exceed
 $1.8 million). Upon information and belief, federal and state Governmental Units would prevent
 any equity distribution until such liabilities are bonded or paid, and any new operator would
 require a fully-funded indemnity in order to continue operations of Cross Border’s properties.
 Under either scenario, these obligations would likely deplete all of Cross Border’s remaining
 assets. Only through the infusion of additional capital can Cross Border emerge from bankruptcy
 as the new top-level (i.e. parent) entity, owning 100% of RMR and Black Rock. The Debtors do
 not believe that the so-called “absolute priority rule” is implicated because all holders of Allowed
 General Unsecured Claims against Cross Border are being paid in full as a condition of
 maintaining the status of the existing equity interests in Cross Border.

        4.      Red Mountain

          Red Mountain holds approximately $15,000 tangible assets, together with an 83% interest
 in Cross Border and a 100% interest in both Black Rock and RMR. Red Mountain is unlikely to
 receive any distribution on account of its equity interests in its subsidiaries (for the reasons
 discussed supra). Red Mountain lacks the ability to operate its properties independently (because
 it is not a licensed operator and because it has insufficient working capital). Accordingly, absent
 payment of $100,000 by the Plan Funder to Red Mountain, the Debtors do not foresee any
 scenario under which a material distribution to holders of Allowed General Unsecured Claims
 against Red Mountain is possible. The Debtors do not believe that the so-called “absolute
 priority rule” is implicated because equity holders in Red Mountain are not retaining their
 interests. Rather, such interests are being extinguished. Finally, given that the Debtors’
 extensive marketing of their assets over the past 3 years have resulted in no offers for the
 remaining properties of the Debtors, or any offers to acquire the common stock of any of the
 Debtors, the Debtors believe that the Plan Funder’s offer to effectively purchase Red Mountain’s
 equity positions in Cross Border, RMR and Black Rock and to make sufficient capital available
 to pay certain claims at the Black Rock, Red Mountain and Cross Border levels (in whole or in
 part), is more advantageous than any other existing alternative.

 M.     Executory Contracts.

         The Plan constitutes a motion to assume, as of the Effective Date, all Contracts. Except as
 set forth in such motions or Orders of the Bankruptcy Court, as to assumed Contracts, [a] no cure
 of such Contracts pursuant to Bankruptcy Code section 365[b][1][A] is necessary other than the
 Cure Payments; [b] no Bankruptcy Code section 365[b][1][B] compensation is owing or shall be
 owing upon the assumption of such Contracts; [c] confirmation of the Plan shall be deemed [i]
 adequate assurance of prompt cure of any default under such Contracts solely based upon a
 Debtor’s obligation in the Plan to make the Cure Payments, [ii] adequate assurance of future
 performance under such Contracts, and [iii] consent by the party to such Contract to the


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 assignment or sublease of the property subject to the Contract to any third party disclosed at the
 Confirmation Hearing.

 N.     Retention of Jurisdiction.

         The Bankruptcy Court's jurisdiction shall be retained under the Plan as set forth in Article
 11 of the Plan.

 O.     Alternatives to Plan Including Liquidation/Liquidation Analysis.

         Although the Debtors combined have approximately $1.4 million in combined cash and
 cash equivalents, approximately $650,000 is in the form of restricted cash. In the event of a
 liquidation, the Debtors believe that all the restricted cash and any unrestricted cash would be
 consumed paying the contingent claims of the New Mexico Oil Conservation Division for
 plugging and capping liabilities attendant to the Debtors’ cessation of operations. Accordingly,
 the Debtors do not believe that holders of Allowed General Unsecured Claims would receive any
 distribution in the event of liquidation. A debtor-by-debtor liquidation analysis is set forth on
 “Exhibit C.”

 P.     Risks To Creditors Under The Plan.

         The Plan is subject to a number of material risks, including those enumerated below.
 Prior to deciding how to vote on the Plan, each holder of an impaired Claim should carefully
 consider all of the information contained in this Disclosure Statement, especially the factors
 mentioned in the following paragraphs:

         1.    Forward-Looking Information May Prove Inaccurate – This Disclosure Statement
 contains various forward-looking statements and information that are based on the Debtors’
 beliefs as well as assumptions made by and information currently available to the Debtors. These
 forward-looking statements are only predictions and are not guarantees of performance. These
 statements generally relate to the Debtors’ plans, objectives and expectations for future
 operations and are based on management's current beliefs and assumptions, which in turn are
 based on its experience and its perception of historical trends, current conditions and expected
 future developments as well as other factors it believes are appropriate under the circumstances.
 Although the Debtors believe that the plans, objectives and expectations reflected in or suggested
 by the forward-looking statements are reasonable, there can be no assurance that actual results
 will not differ materially from those expressed or implied in such forward-looking statements.
 Forward-looking statements also involve risks and uncertainties. Many of these risks and
 uncertainties are beyond the Debtors’ ability to control or predict and could cause results to differ
 materially from the results discussed in such forward-looking statements. Such risks and
 uncertainties include, but are not limited to, the following:

                    a. the substantial and continued decline in oil prices;




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                    b. the ability to generate sufficient cash flow from operations, borrowings or
                       other sources to enable the Debtors to fully develop and produce the
                       Debtors’ oil and natural gas properties;
                    c. declines or volatility in the prices received for the Debtors’ oil and natural
                       gas;
                    d. general economic conditions, whether internationally, nationally or in the
                       regional and local market areas in which the Debtors do business;
                    e. risks associated with drilling, including completion risks, cost overruns
                       and the drilling of non-economic wells or dry holes;
                    f. uncertainties associated with estimates of proved oil and natural gas
                       reserves;
                    g. the presence or recoverability of estimated oil and natural gas reserves and
                       the actual future production rates and associated costs;
                    h. potential defects in title to the Debtors’ properties;
                    i. cost and availability of drilling rigs, equipment, supplies, personnel and
                       oilfield services;
                    j. geological concentration of the Debtors’ reserves;
                    k. environmental or other governmental regulations, including legislation of
                       hydraulic fracture stimulation;
                    l. our ability to secure firm transportation for oil and natural gas the Debtors
                       produce and to sell the oil and natural gas at market prices;
                    m. exploration and development risks;
                    n. management's ability to execute the Debtors’ plans to meet the Debtors’
                       goals;
                    o. our ability to retain key members of the Debtors’ management team;
                    p. weather conditions;
                    q. actions or inactions of third-party operators of the Debtors’ properties;
                    r. costs and liabilities associated with environmental, health and safety laws;
                    s. our ability to find and retain highly skilled personnel;
                    t. operating hazards attendant to the oil and natural gas business;
                    u. competition in the oil and natural gas industry; and
                    v. the other factors discussed in this Disclosure Statement.

         Moreover, forward-looking statements speak only as of the date hereof. All such forward-
 looking statements and any subsequent written and oral forward-looking statements attributable
 to the Debtors or any person acting on the Debtors’ behalf are expressly qualified in their entirety
 by the cautionary statements contained or referred to in this section and any other cautionary
 statements that may accompany such forward-looking statements. Except as otherwise required
 by applicable law, the Debtors disclaim any duty to update any forward-looking statements.



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         2.     Competition -- The oil and natural gas industry is highly competitive and the
 Debtors compete with a substantial number of other companies that have greater resources than
 the Debtors do. The largest of these companies explore for, produce and market oil and natural
 gas, carry on refining operations and market the resultant products on a worldwide basis. The
 primary areas in which the Debtors encounter substantial competition are in the Debtors’ drilling
 and development operations, locating and acquiring prospective oil and natural gas properties
 and reserves and attracting and retaining highly skilled personnel. There is also competition
 between producers of oil and natural gas and other industries producing alternative energy and
 fuel. Furthermore, competitive conditions may be substantially affected by various forms of
 energy legislation and/or regulation considered from time to time by the United States
 government; however, it is not possible to predict the nature of any such legislation or regulation
 that may ultimately be adopted or its effects upon the Debtors’ future operations. Such laws and
 regulations may, however, substantially increase the costs of exploring for, developing or
 producing oil and natural gas and may prevent or delay the commencement or continuation of a
 given operation. The effect of these risks cannot be accurately predicted.

          3.     Insurance – The Debtors currently maintain oil and natural gas commercial general
 liability protection relating to all of the Debtors’ oil and natural gas operations (including
 environmental and pollution claims). As is common in the oil and natural gas industry, the
 Debtors will not insure fully against all risks associated with the Debtors’ business either because
 such insurance is not available or because premium costs are considered prohibitive. In addition,
 pollution and environmental risks generally are not fully insurable. A loss not fully covered by
 insurance could have a material adverse effect on the Debtors’ business, financial condition and
 results of operations.

          4.     Environmental Matters and Regulation -- The Debtors’ exploration, development
 and production operations are subject to various federal, state and local laws and regulations
 governing health and safety, the discharge of materials into the environment or otherwise relating
 to environmental protection. These laws and regulations may, among other things: require the
 acquisition of permits to conduct exploration, drilling and production operations; govern the
 amounts and types of substances that may be released into the environment in connection with oil
 and natural gas drilling and production; restrict the way the Debtors handle or dispose of the
 Debtors’ wastes or of naturally occurring radioactive materials generated by the Debtors’
 operations; cause the Debtors to incur significant capital expenditures to install pollution control
 or safety related equipment operating at the Debtors’ facilities; limit or prohibit construction or
 drilling activities in sensitive areas such as wetlands, wilderness areas or areas inhabited by
 endangered or threatened species; impose specific health and safety criteria addressing worker
 protection; require investigatory and remedial actions to mitigate pollution conditions caused by
 the Debtors’ operations or attributable to former operations; impose obligations to reclaim and
 abandon well sites and pits and impose substantial liabilities on the Debtors for pollution
 resulting from the Debtors’ operations. Failure to comply with these laws and regulations may
 result in the assessment of administrative, civil and criminal penalties, the imposition of remedial
 obligations and the issuance of orders enjoining some or all of the Debtors’ operations in affected
 areas.



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         Additionally, the United States Congress and federal and state agencies frequently revise
 environmental, health and safety laws and regulations, and their interpretations thereof, and any
 changes that result in more stringent and costly operational requirements or waste handling,
 disposal, cleanup and remediation requirements for the oil and natural gas industry could have a
 significant impact on the Debtors’ operating costs. The trend in environmental regulation is to
 place more restrictions and limitations on activities that may affect the environment, and thus,
 any changes in environmental laws and regulations or new interpretations of enforcement
 policies that result in more stringent and costly waste handling, storage, transport, disposal or
 remediation requirements could have a material adverse effect on the Debtors’ financial
 condition and results of operations. The Debtors may be unable to pass on such increased
 compliance costs to the Debtors’ customers.

         The oil and natural gas industry is extensively regulated by numerous federal, state and
 local authorities. In particular, oil and natural gas production and related operations are, or have
 been, subject to price controls, taxes and numerous other laws and regulations. These laws and
 regulations may also restrict the rate of oil and natural gas production below the rate that would
 otherwise be possible. The regulatory burden on the oil and natural gas industry increases the
 cost of doing business in the industry and consequently affects profitability.

        Failure to comply with applicable laws and regulations can result in substantial penalties
 and possibly cessation of drilling and production operations. The regulatory burden on the
 industry increases the cost of doing business and affects profitability. The Debtors believe that
 the Debtors are in substantial compliance with existing requirements and such compliance will
 not have a material adverse effect on the Debtors’ financial condition, cash flows or results of
 operations. Nevertheless, such laws and regulations are frequently amended or reinterpreted.
 Therefore, the Debtors are unable to predict the future costs or impact of compliance. Additional
 proposals and proceedings that affect the oil and natural gas industry are regularly considered by
 the United States Congress, the states, and the courts. The Debtors cannot predict when or
 whether any such proposals may become effective.

         5.     Capital Requirements -- The oil and natural gas industry is capital intensive. The
 Debtors make and expect to continue to make significant capital expenditures in the Debtors’
 business for the exploration, development, production and acquisition of oil and natural gas
 reserves. Improvement in commodity prices may result in an increase in the Debtors’ actual
 capital expenditures. The payments to holders of Allowed Class 6CB Claims will require the
 Debtors to raise capital. If the Debtors are unable to do so, the Debtors’ operations on acceptable
 terms or at all, the Debtors may be forced to sell assets or curtail or suspend the Debtors’
 operations, and the Debtors’ business, financial condition and results of operations may be
 materially and adversely affected.

         6.     Operational Risks – The Debtors’ cash flows from operations and access to capital
 are subject to a number of variables, including:

                    a. the value of the Debtors’ proved reserves;
                    b. the level of oil and natural gas the Debtors are able to produce from
                       existing wells;

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                    c. the prices at which the Debtors’ oil and natural gas are sold;
                    d. the Debtors’ ability to acquire, locate and produce new reserves;

         If sufficient capital resources are not available, the Debtors might be forced to cease
 operations entirely, curtail developmental and exploratory drilling and other activities or be
 forced to sell some assets on an untimely or unfavorable basis, which would have a material
 adverse effect on the Debtors’ business, financial condition and results of operations.

         7.      Commodity Risks -- The Debtors’ revenue, profitability, access to capital and
 future rate of growth are substantially dependent on the prevailing prices of, and demand for, oil
 and natural gas. These processes are, in turn, dependent on factors outside the Debtors’ control,
 including but not limited to:

                    a. the price and quantity of imports of foreign oil and natural gas;
                    b. the actions of the Organization of Petroleum Exporting Countries, or
                       OPEC, and other state-controlled oil companies relating to oil and natural
                       gas price and production control;
                    c. political conditions in or affecting other oil-producing and natural gas-
                       producing countries, including the current conflicts in the Middle East and
                       conditions in South America and Russia;
                    d. the level of global oil and natural gas inventories;
                    e. localized supply and demand fundamentals;
                    f. the availability of refining capacity;
                    g. price and availability of transportation and pipeline systems with adequate
                       capacity;
                    h. weather conditions and natural disasters;
                    i. governmental regulations;
                    j. speculation as to the future price of oil and natural gas and the speculative
                       trading of oil and natural gas futures contracts;
                    k. price and availability of competitors' supplies of oil and natural gas;
                    l. energy conservation and environmental measures;
                    m. technological advances affecting energy consumption;
                    n. the price and availability of alternative fuels and energy sources; and
                    o. domestic and international drilling activity.

         If oil and natural gas prices are depressed or further decline, (i) the Debtors’ net cash flow
 attributable to current production will decline, (ii) the Debtors’ exploration and development
 activity may decline as some investments may become uneconomic and are either delayed or
 eliminated, and (iii) the value of proved developed producing reserves and proved undeveloped
 reserves could decline. It is impossible to predict future oil and natural gas price movements, and
 declines in oil and natural gas prices could have a material adverse effect on the Debtors’
 liquidity and financial condition.


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         8.     Production Risks -- Prospects that the Debtors decide to drill that do not yield oil
 or natural gas in commercially productive quantities will adversely affect the Debtors’ financial
 condition and results of operations. The Debtors’ prospects are in various stages of evaluation,
 and may range from a prospect which is ready to drill to a prospect that will require substantial
 additional seismic data processing and interpretation and other technical analysis. There is no
 way to predict in advance of drilling and testing whether any particular prospect will yield oil or
 natural gas in sufficient quantities to recover drilling or completion costs or to be commercially
 productive. The use of seismic data and other technologies and the study of producing fields in
 the same area will not enable the Debtors to know conclusively prior to drilling whether oil or
 natural gas will be present or, if present, whether oil or natural gas will be present in commercial
 quantities. The Debtors cannot assure that the analogies the Debtors draw from available data
 from other wells, more fully explored prospects or producing fields will be applicable to the
 Debtors’ drilling prospects.

         9.     Reserve Estimate Risks -- The calculation of reserves and estimating reserves are
 inherently imprecise. The accuracy of any reserve estimate is a function of the quality of
 available data, engineering interpretation and judgment and the assumptions used regarding the
 quantities of recoverable oil and natural gas and the future prices of oil and natural gas.
 Petroleum engineers consider many factors and make many assumptions in estimating reserves.
 Those factors and assumptions include, but are not limited to, the following: historical
 production from the area compared with production rates from similarly situated producing areas;
 the effects of governmental regulation; assumptions about future commodity prices, production
 and taxes; the availability of enhanced recovery techniques; and relationships with landowners,
 working interest partners, pipeline companies and others.

        Any material inaccuracies in the Debtors’ reserve estimates or underlying assumptions
 could materially affect the quantities and present values of the Debtors’ reserves. The process of
 estimating oil and natural gas reserves is complex. It requires interpretations of available
 technical data and various assumptions, including assumptions relating to economic factors. The
 process of preparing these estimates requires the projection of production rates and timing of
 development expenditures and analysis of available geological, geophysical, production and
 engineering data, and the extent, quality and reliability of this data can vary. The process also
 requires economic assumptions relating to matters such as oil and natural gas prices, drilling and
 operating expenses, capital expenditures, taxes and availability of funds.

        10.    Other Risks Inherent to the Industry

                a.      The Debtors’ future financial condition and results of operations will
                        depend on the success of the Debtors’ acquisition, exploitation,
                        development and production activities. The Debtors’ oil and natural gas
                        exploration and production activities are subject to numerous risks beyond
                        the Debtors’ control, including the risk that drilling will not result in
                        commercially productive oil or natural gas reservoirs. The Debtors’
                        decisions to acquire, explore, develop or otherwise exploit drilling
                        locations or properties will depend in part on the evaluation of data
                        obtained through geophysical and geological analyses, production data and

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                    engineering studies, the results of which are often inconclusive or subject
                    to varying interpretations. In addition, the Debtors’ cost of drilling,
                    completing and operating wells is often uncertain before drilling
                    commences. Overruns in budgeted expenditures are common risks that can
                    make a particular project uneconomical. Further, many factors may curtail,
                    delay or cancel the Debtors’ scheduled drilling projects, including the
                    following:

                             i. shortages of or delays in obtaining equipment and qualified
                                personnel;
                            ii. facility or equipment malfunctions;
                          iii. unexpected operational events;
                           iv. pressure or irregularities in geological formations;
                            v. adverse weather conditions, such as flooding;
                           vi. reductions in oil and natural gas prices;
                          vii. delays imposed by or resulting from compliance with
                                regulatory requirements;
                         viii. proximity to and capacity of transportation facilities;
                           ix. title problems;
                            x. limitations in the market for oil and natural gas; and
                           xi. costs and availability of drilling rigs, equipment, supplies,
                                personnel and oilfield services.

              b.    Even if drilled, the Debtors’ completed wells may not produce reserves of
                    oil or natural gas that are commercially productive or that meet the
                    Debtors’ earlier estimates of economically recoverable reserves. A
                    productive well may become uneconomic if water or other deleterious
                    substances are encountered, which impair or prevent the production of oil
                    and/or natural gas from the well. The Debtors’ overall drilling success rate
                    or the Debtors’ drilling success rate for activity within a particular project
                    area may decline. Unsuccessful drilling activities could result in a
                    significant decline in the Debtors’ production and revenues and materially
                    harm the Debtors’ operations and financial condition by reducing the
                    Debtors’ available cash and resources.

              c.    The Debtors’ future success will depend on the Debtors’ ability to find,
                    develop or acquire additional reserves that are commercially productive. If
                    the Debtors are unable to replace reserves through drilling or acquisitions,
                    the Debtors’ level of production and cash flows will be adversely affected.
                    In general, production from oil and natural gas properties declines as
                    reserves are depleted, with the rate of decline depending on reservoir
                    characteristics. The Debtors’ total proved reserves decline as reserves are
                    produced unless the Debtors conduct other successful exploration and

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                    development activities or acquire properties containing proved reserves, or
                    both. The Debtors’ ability to make the necessary capital investment to
                    maintain or expand the Debtors’ asset base of oil and natural gas reserves
                    would be impaired to the extent cash flow from operations is reduced and
                    external sources of capital become limited or unavailable. The Debtors
                    may not be successful in exploring for, developing or acquiring additional
                    reserves. The Debtors also may not be successful in raising funds to
                    acquire, explore or develop additional reserves.

              d.    The Debtors implement hydraulic fracturing in the Debtors’ operations, a
                    process involving the injection of fluids-usually consisting mostly of water
                    but typically including small amounts of several chemical additives-as
                    well as sand in order to create fractures extending from the wellbore
                    through the rock formation to enable oil or natural gas to move more easily
                    through the rock pores to a production well. Risks inherent to the Debtors’
                    industry include the potential for significant losses associated with damage
                    to the environment. Equipment design or operational failures, or vehicle
                    operator error can result in explosions and discharges of toxic gases,
                    chemicals and hazardous substances, and, in rare cases, uncontrollable
                    flows of natural gas or well fluids into environmental media, as well as
                    personal injury, loss of life, long-term suspension or cessation of
                    operations and interruption of the Debtors’ business and/or the business or
                    livelihood of third parties, damage to geologic formations, environmental
                    media and natural resources, equipment and/or facilities and property. In
                    addition, the Debtors use and generate hazardous substances and wastes in
                    the Debtors’ operations and may become subject to claims relating to the
                    release of such substances into the environment. In addition, some of the
                    Debtors’ current properties could contain currently unknown
                    contamination that could expose the Debtors to governmental
                    requirements or claims relating to environmental remediation, personal
                    injury and/or property damage. These conditions could expose the Debtors
                    to liability for personal injury, wrongful death, property damage, loss of oil
                    and natural gas production, pollution and other environmental damages
                    and could materially impair the Debtors’ profitability, competitive position
                    or viability. Depending on the frequency and severity of such liabilities or
                    losses, it is possible that the Debtors’ operating costs, insurability and
                    relationships with employees and regulators could be materially impaired.

              e.    The Debtors’ leasehold acreage may be subject to existing oil and natural
                    gas leases, liens for current taxes and other burdens, including other
                    mineral encumbrances and restrictions customary in the oil and natural gas
                    industry, that should not materially interfere with the use or otherwise
                    affect the value of such properties. However, the Debtors cannot guarantee
                    that the Debtors have or will have clear and unobstructed title to leases or
                    other rights assigned to us. The Debtors also cannot guarantee that the
                    mineral encumbrances and restrictions mentioned above will not

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                    materially interfere with the use of or affect the value of leasehold acreage.
                    Any cloud on the title of the working interests, leases and other rights
                    owned by the Debtors could have a material adverse effect on the Debtors’
                    operations.

              f.    Market conditions, the unavailability of satisfactory oil and natural gas
                    transportation or the remote location of the Debtors’ drilling operations
                    may restrict the Debtors’ access to oil and natural gas markets or delay
                    production. The availability of a ready market for oil and natural gas
                    production depends on a number of factors, including the demand for and
                    supply of oil and natural gas, the proximity of reserves to pipelines or
                    trucking and terminal facilities and the availability of trucks and other
                    transportation equipment. The Debtors may be required to shut-in wells or
                    delay initial production for lack of a viable market or because of
                    inadequacy or unavailability of pipeline or gathering system capacity.
                    When that occurs, the Debtors will be unable to realize revenue from those
                    wells until the production can be tied to a gathering system. This can result
                    in considerable delays from the initial discovery of a reservoir to the actual
                    production of the oil and natural gas and realization of revenues.

              g.    The Debtors’ operations are susceptible to damage from natural disasters
                    such as flooding or tornados, which involve increased risks of personal
                    injury, property damage and marketing interruptions. The occurrence of
                    one of these operating hazards may result in injury, loss of life, suspension
                    of operations, environmental damage and remediation and/or
                    governmental investigations and penalties. The payment of any of these
                    liabilities could reduce, or even eliminate, the funds available for
                    exploration and development, or could result in a loss of the Debtors’
                    properties. In addition, pollution and environmental risks generally are not
                    fully insurable. If a significant accident or other event occurs and is not
                    fully covered by insurance, it could materially adversely affect the
                    Debtors’ financial condition, results of operations and cash flows.

              h.    The oil and natural gas industry is characterized by rapid and significant
                    technological advancements and introductions of new products and
                    services using new technologies. As others use or develop new
                    technologies, the Debtors may be placed at a competitive disadvantage or
                    competitive pressures may force the Debtors to implement those new
                    technologies at substantial costs. In addition, other oil and natural gas
                    companies may have greater financial, technical and personnel resources
                    that allow them to enjoy technological advantages and may in the future
                    allow them to implement new technologies before the Debtors can. The
                    Debtors may not be able to respond to these competitive pressures and
                    implement new technologies on a timely basis or at an acceptable cost. If
                    one or more of the technologies the Debtors use now or in the future were
                    to become obsolete or if the Debtors are unable to use the most advanced

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                        commercially available technology, the Debtors’ business, financial
                        condition and results of operations could be materially adversely affected.

                i.      The Debtors operate in a highly competitive environment for developing
                        and acquiring properties, marketing oil and natural gas and securing
                        equipment and trained personnel. As a relatively small oil and natural gas
                        company, many of the Debtors’ competitors, major and large independent
                        oil and natural gas companies, possess and employ financial, technical and
                        personnel resources substantially greater than ours. Those companies may
                        be able to develop and acquire more prospects and productive properties
                        than the Debtors’ financial or personnel resources permit. The Debtors’
                        ability to acquire additional prospects and discover reserves in the future
                        will depend on the Debtors’ ability to evaluate and select suitable
                        properties and execute the Debtors’ exploration and development activities
                        in a highly competitive environment. Also, there is substantial competition
                        for capital available for investment in the oil and natural gas industry.
                        Larger competitors may be better able to withstand sustained periods of
                        unsuccessful drilling and absorb the burden of changes in laws and
                        regulations more easily than the Debtors can, which would adversely affect
                        the Debtors’ competitive position. The Debtors may not be able to
                        compete successfully in the future in developing reserves, acquiring
                        prospective oil and natural gas properties and reserves, attracting and
                        retaining highly skilled personnel and raising additional capital.

         11. Dependence on Key Individuals – The Debtors are dependent on their ability to
 retain the services of Alan Barksdale. The loss of Mr. Barksdale could have a material adverse
 effect on the Debtors.

          12. Certain Risks of Non-Confirmation – There can be no assurance that the requisite
 acceptances to confirm the Plan will be received. Even if the requisite acceptances are received,
 there can be no assurance that the Court will confirm the Plan. Section 1129 of the Bankruptcy
 Code sets forth the requirements for confirmation and requires, among other things, a finding by
 the Court that the confirmation of the Plan is not likely to be followed by a liquidation or a need
 for further financial reorganization and that the value of the distributions to non-accepting
 creditors and interest holders will not be less than the value of the distributions that such
 creditors and interest holders would receive if the Debtors were liquidated under chapter 7 of the
 Bankruptcy Code. Although the Debtors believe that these requirements will be satisfied, there
 can be no assurance that the Court will concur. The confirmation and consummation of the Plan
 are also subject to certain other conditions, which are described in this Disclosure Statement. If
 the Plan were not to be confirmed and consummated, it is unclear whether a reorganization
 comparable to the reorganization contemplated hereby could be implemented in a timely manner
 and, if so, what distributions holders of Claims ultimately would receive with respect to its
 Claims. Moreover, if an alternative reorganization could not be implemented in a timely manner,
 it is possible the that Debtors would have to liquidate their assets, in which case it is likely the
 holders of Claims would receive less than they would have received pursuant to the Plan.


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 Q.     Tax Consequences to the Debtors.

        Implementation of the Plan may result in federal income tax consequences to holders of
 Claims and Equity Interest holders. Tax consequences to a particular Creditor or holder of an
 Equity Interest may depend on the particular circumstances or facts regarding the Claim or the
 holder of the Equity Interest. YOU ARE URGED TO CONSULT YOUR OWN TAX ADVISOR
 AS TO THE CONSEQUENCES OF THE PLAN UNDER FEDERAL AND APPLICABLE
 STATE AND LOCAL TAX LAWS.

 R.     Pending or Anticipated Litigation.

         On the Effective Date, all pre-Petition Date lawsuits, litigations, administrative actions or
 other proceedings, judicial or administrative, in connection with the assertion of a Claim shall be
 dismissed as to the Reorganized Debtors; provided however, if the appeal of any such matter is
 pending as of the Confirmation Date, the Claim shall be determined by the appellate court[s] in
 which such case is pending; provided further that if such case is reversed or remanded to the trial
 court, the Claim shall be asserted in the Chapter 11 Cases and finally determined by the
 Bankruptcy Court.

        Dismissals of proceedings provided herein shall be with prejudice to the assertion of such
 Claim in any manner other than as prescribed by the Plan. ALL PARTIES TO ANY SUCH
 ACTION SHALL BE ENJOINED BY THE BANKRUPTCY COURT IN THE
 CONFIRMATION ORDER FROM TAKING ANY ACTION TO IMPEDE THE IMMEDIATE
 AND UNCONDITIONAL DISMISSAL OF SUCH ACTIONS. Confirmation and
 consummation of the Plan shall have no effect on insurance policies of either of the Debtors in
 which either of the Debtors is or was the insured party; and the Reorganized Debtors shall
 become the insured party under any such policies. Each insurance company is prohibited from,
 and the Confirmation Order shall include an injunction against, denying, refusing, altering or
 delaying coverage on any basis regarding or related to the Debtors’ bankruptcy, the Plan or any
 provision within the Plan, including the treatment or means of liquidation set out within the Plan.

 S.     Exculpations.

          Pursuant to Section 1123(b)(3)(A) of the bankruptcy Code, unless a party-in-interest casts a
 Ballot rejecting the Plan or objects to this provision of the Plan prior to the Confirmation Hearing,
 the payment by the Plan Funder shall be deemed consideration for, and the Confirmation Order
 shall provide for, the exculpation of the Debtors, the Plan Funder, the Reorganized Debtors, and
 their respective directors, officers, employees, predecessors, successors, attorneys, accountants,
 financial advisors, appraisers, representatives and agents (the “Exculpated Entities”), acting in such
 capacity, for any act taken or omitted to be taken in connection with, related to or arising out of the
 Chapter 11 Cases or the consideration, formulation, preparation, dissemination, confirmation,
 effectuation, implementation or consummation of the Plan or any transaction proposed in
 connection with the Debtors, the Chapter 11 Cases or any contract, instrument, release or other
 agreement or document entered into or delivered, or any other act taken or omitted to be taken, in
 connection therewith; provided, however that the foregoing provisions of this Section shall have
 no effect on: (a) the liability of any Entity that would otherwise result from the failure to perform

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 or pay any obligation or liability under the Plan or any contract, instrument, release or other
 agreement or document to be entered into or delivered in connection with the Plan; or (b) the
 liability of any Entity that would otherwise result from any such act or omission to the extent that
 such act or omission is determined in a Final Order to have constituted gross negligence or
 willful misconduct. In the event that a rejecting Ballot is cast or an objection is timely filed by a
 party-in-interest (an “Opt Out Party”), the Opt Out Party shall be entitled to assert whatever claims
 and causes of action such Opt Out Party could assert under applicable non-bankruptcy law against
 the Exculpated Entities as if Section 12.18 of the Plan were not included in the Plan.

 T.     Procedures For Resolving and Treating Contested Claims Under The Plan.

         1.       Establishment of Contested Claims Reserve. Notwithstanding any other provision
 of the Plan, no assets or property shall be distributed under the Plan on account of any Contested
 Claim. For all Contested Claims, the Reorganized Debtors shall establish and hold, in trust,
 distributions to be made on account of any Claim [each such reserve being herein called a
 “Contested Claims Reserve”] which is a Contested Claim, and shall place in each Contested
 Claims Reserve the assets and property to be distributed on account of such Contested Claims
 pursuant to the Plan, pending Allowance or Disallowance of such Claim. Pending entry of a
 Final Order concerning a Contested Claim, the Reorganized Debtors shall pay into the Contested
 Claims Reserve all payments provided for under the Plan which would have been required to be
 delivered to the holder of the Contested Claim as if the Contested Claim were an Allowed Claim.
  Cash held in any Contested Claims Reserve shall be held in a segregated interest-bearing trust
 account. To the extent practicable, the Reorganized Debtors may invest the Cash in any
 Contested Claims Reserve in a manner that will yield a reasonable net return, taking into account
 the safety of the investment. Each Contested Claims Reserve shall be held in a federally-insured
 financial institution. No funds shall be released from a Contested Claims Reserve absent an
 order from the Bankruptcy Court.

         2.      Determination of Contested Claims Reserve. The Debtors shall establish and
 fund a Contested Claims Reserve in respect of each Contested Claim in an amount asserted by
 the holder of a Contested Claim in a filed proof of claim, or if no proof of claim is filed, the
 amount, if any, set forth in the applicable Debtor’s Schedules. Notwithstanding the foregoing,
 with respect to any Contested Claim, the Debtors may seek to establish a different amount of the
 Contested Claims Reserve applicable to such Contested Claim after notice and opportunity for a
 hearing to the holder of the Contested Claim. The Bankruptcy Court may, at any time, including
 upon request of a party in interest, determine for each Contested Claim, the amount of assets and
 property sufficient to fund each Contested Claims Reserve established with respect to any such
 Claim. Any unsecured claimant holding a Contested Claim so estimated will have recourse only
 to undistributed assets and property in the Contested Claims Reserve to satisfy the Contested
 Claim and not to the Reorganized Debtors or any other assets or property, should the Allowed
 Claim of such claimant, as finally determined by a Final Order, exceed such Estimated Amount.

         3.      Return of Assets. Except as otherwise provided herein, all assets and properties
 [and all interest payments and dividends previously paid in connection therewith] in any



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 Contested Claims Reserve remaining after the resolution of all disputes relating thereto shall be
 returned to the Reorganized Debtors.

 U.     Discharge of the Debtors.

          Entry of the Confirmation Order shall discharge all existing debts and Claims of any
 kind, nature or description whatsoever against the Debtors or any of its assets or properties to the
 fullest extent permitted by section 1141 of the Bankruptcy Code, including but not limited to
 Claims based upon any act or omission, transaction or other activity of any kind or nature that
 occurred prior to the Effective Date and all debts of the kind specified in sections 502[g], 502[h]
 or 502[i] of the Bankruptcy Code, whether or not [a] a Proof of Claim based upon such debt is
 filed or deemed filed under section 501 of the Bankruptcy Code; [b] a Claim based upon such
 debt is allowed under section 502 of the Bankruptcy Code; or [c] the holder of a Claim has
 accepted the Plan. As provided in section 524 of the Bankruptcy Code, the discharge shall void
 any judgment against the Debtors or Reorganized Debtors at any time obtained to the extent it
 relates to a Claim discharged and operates as an injunction against the prosecution of any action
 against the Debtors, the Reorganized Debtors, or any of their property, to the extent it relates to a
 Claim discharged. Notwithstanding anything to the contrary, Section 12.2 does not enjoin
 creditors from enforcing their rights under the Plan and does not apply to post-petition ad
 valorem taxes.

         Notwithstanding anything to the contrary in the Plan, nothing in the Confirmation Order
 or this Plan discharges, limits, impairs, delays, releases, exculpates a Person from, or precludes
 or enjoins the assertion of: (i) any liability to any Governmental Unit that is not a Claim; (ii) any
 Claim of a Governmental Unit arising on or after the Confirmation Date; (iii) any police or
 regulatory liability to a Governmental Unit that any entity would be subject to as the owner or
 operator of property after the Confirmation Date; or (iv) any liability to a Governmental Unit on
 the part of any Person other than the Debtors or Reorganized Debtors; (v) any Claim, cause of
 action, proceedings or investigations of the SEC against any non-Debtor Entity in any forum.
 Nor shall anything in the Confirmation Order or this Plan enjoin or otherwise bar a
 Governmental Unit from asserting or enforcing, outside the Bankruptcy Court, any liability
 described in the preceding sentence. Nothing in this Plan or the Confirmation Order shall affect
 any setoff or recoupment rights of any Governmental Unit. Finally, to the extent that the Debtors
 are subject to any existing environmental orders or consent agreements, such orders or consent
 agreements shall continue after the Effective Date and the Reorganized Debtors shall continue to
 comply with such orders or consent agreements.

 V.     Injunctions.

      EXCEPT AS PROVIDED IN THE PLAN OR THE CONFIRMATION ORDER, AS OF
 THE EFFECTIVE DATE, ALL ENTITIES THAT HAVE HELD, CURRENTLY HOLD OR
 MAY HOLD A CLAIM OR OTHER DEBT OR LIABILITY THAT IS DISCHARGED
 PURSUANT TO THE TERMS OF THE PLAN SHALL BE PERMANENTLY ENJOINED
 FROM TAKING ANY OF THE FOLLOWING ACTIONS ON ACCOUNT OF ANY SUCH
 DISCHARGED CLAIM, DEBT OR LIABILITY:


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       (I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
 OTHER PROCEEDING AGAINST ANY DEBTOR OR REORGANIZED DEBTOR, OR ANY
 OF ITS PROPERTY, OTHER THAN TO ENFORCE ANY RIGHT TO A DISTRIBUTION
 PURSUANT TO THE PLAN;

      (II) ENFORCING, ATTACHING, COLLECTING OR RECOVERING IN ANY
 MANNER ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST ANY DEBTOR
 OR REORGANIZED DEBTOR, OR ANY OF ITS PROPERTY, OTHER THAN AS
 PERMITTED PURSUANT TO (I) ABOVE;

      (III) CREATING, PERFECTING OR ENFORCING ANY LIEN OR ENCUMBRANCE
 AGAINST ANY DEBTOR OR REORGANIZED DEBTOR, OR ANY OF ITS PROPERTY;
 AND


      (IV) COMMENCING OR CONTINUING ANY ACTION, IN ANY MANNER, IN ANY
 PLACE THAT DOES NOT COMPLY WITH OR IS INCONSISTENT WITH THE
 PROVISIONS OF THE PLAN.

 W.     Conclusion.

        Through confirmation of the Plan, the Debtors believe that they can resolve all claims that
 have been, or could be, asserted against them in a timely and cost effective manner. The Debtors
 believe that the Plan provides a mechanism to resolve and provide just compensation to all
 claimants. The Debtors believe that the Plan is fair to all parties-in-interest and should be
 approved by creditors.

               THE DEBTORS URGE YOU TO VOTE TO ACCEPT THE PLAN.

        Dated: ___________, 2018.

                                                     Respectfully submitted,


                                                     By:      /s/ Howard Marc Spector
                                                             Howard Marc Spector
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 DISCLOSURE STATEMENT IN CONNECTION WITH
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                                              COUNSEL FOR THE DEBTORS




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                                              EXHIBIT A




 EXHIBIT TO DISCLOSURE STATEMENT IN CONNECTION WITH
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COUNSEL FOR THE DEBTORS

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                           §
                                                 §
RMR Operating, LLC, et al.,                      §            CASE NO. 16-30988-11
                                                 §            (Jointly Administered)
       Debtors.                                  §

                              Third Amended Joint Plan of Reorganization
                                        Filed by the Debtors
                                       Dated: August 27, 2018
                                            Dallas, Texas

      The Debtors, as debtors-in-possession, propose this Third Amended Joint Plan of
Reorganization under chapter 11 of the Bankruptcy Code.

                           ARTICLE 1: DEFINITIONS AND INTERPRETATION

       1.1     Definitions.
       The capitalized terms used herein shall have the respective meanings set forth below:

        (a)     “Ad Valorem Taxing Authority” shall mean any governmental entity entitled by law
to assess taxes on property based upon the value of such property which taxes are secured by a
statutory Lien to secure the payment of such taxes, penalties and interest accruing thereon.
       (b)      “Administrative Claim” shall mean a Claim entitled to priority under sections 503[b]
and 507[a][2] of the Bankruptcy Code in the Chapter 11 Cases of the Debtors.
        (c)      “Allowed” when used with respect to any Claim, except for a Claim that is an
Administrative Claim, shall mean [1] such Claim to the extent it is not a Contested Claim; [2] such
Claim to the extent it may be set forth pursuant to any stipulation or agreement that has been approved
by Final Order; [3] a Contested Claim, proof of which was filed timely with the Bankruptcy Court and
[A] as to which no objection was filed by the Objection Deadline; or [B] as to which an objection is
filed by the Objection Deadline, to the extent determined by Final Order to be a valid obligation of the
Debtor against which the Claim is asserted; if, as, and when determined by Final Order to be a valid
obligation of the Debtor against which the Claim is asserted.




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        (d)       “Bankruptcy Code” shall mean the Bankruptcy Reform Act of 1978, as amended, and
codified at title 11 of the United States Code.
         (e)    “Bankruptcy Court” shall mean the Bankruptcy Court unit of the United States
District Court for the Northern District of Texas, Dallas Division, or such other court having
jurisdiction over the Chapter 11 Cases.
        (f)    “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure, as
prescribed by the United States Supreme Court pursuant to section 2075 of title 28 of the United States
Code.
         (g)     “Bar Date” shall mean July 5. 2016, the deadline for the filings of proofs of claim to
assert all Claims, other than the claims of governmental authorities.
        (h)     “Black Rock” shall mean Black Rock Capital, Inc.
        (i)     “Black Rock Available Cash” shall mean an amount of Cash equal to $75,000 to be
allocated to pay holders of Allowed Class 6BR Claims.
        (j)     “Black Shale” shall mean Black Shale Minerals, LLC.
        (k)     “Business Day” shall mean any day on which commercial banks are open for business
in Dallas, Texas.
       (l)     “Cash” shall mean legal tender of the United States of America or short-term liquid
investments that are readily convertible to known amounts of legal tender of the United States of
America.
        (m)   “Chapter 11 Cases” shall mean the cases of the Debtors commenced under chapter 11
of the Bankruptcy Code on the Petition Date.
       (n)    “Collateral” shall mean any property of a Debtor subject to a valid, enforceable and
non-avoidable Lien to secure the payment of a Claim.
        (o)    “Confirmation Date” shall mean the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.
        (p)     “Confirmation Hearing” shall mean the date on which the Bankruptcy Court holds
the hearing[s] on confirmation of the Plan.
        (q)     “Confirmation Order” shall mean the order of the Bankruptcy Court confirming the
Plan.
         (r)      “Contested” when used with respect to a Claim, shall mean a Claim against a Debtor
[1] that is listed in a Debtor’s Schedules as disputed, contingent or unliquidated; [2] that is listed in a
Debtor’s Schedules as undisputed, liquidated and not contingent and as to which a proof of Claim has
been filed with the Bankruptcy Court, to the extent the proof of Claim amount exceeds the scheduled
amount; [3] that is not listed in a Debtor’s Schedules, but as to which a proof of Claim has been filed
with the Bankruptcy Court and to which an objection has been or is filed on or prior to the Objection
Deadline and such objection has not been resolved by Final Order or stipulation or agreement
approved by Final Order; and [4] any Unclassified Claim of which the Debtors have received written
notice prior to the deadline for submitting same under Section 5.1 of the Plan or otherwise, and which
has not been resolved by Final Order or stipulation or agreement approved by Final Order.
Notwithstanding the foregoing, after the Objection Deadline, only Claims to which an Objection has
been filed shall be deemed Contested Claims.




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        (s)     “Contested Claims Reserve” shall mean the reserve accounts established pursuant to
this Plan for funding Contested Claims if and to the extent that such Claims are ultimately Allowed by
Final Order and which are to be held pending resolution of Contested Claims by the entry of a Final
Order allowing or disallowing such Contested Claim[s].
       (t)     “Contracts” shall mean all executory contracts and unexpired leases as such terms are
used within Bankruptcy Code section 365 to which a Debtor was a party as of the Petition Date.
       (u)     “Cross Border” shall mean Cross Border Resources, Inc.
       (v)     “Cure Payment” shall be the monetary payments required pursuant to Bankruptcy
Code section 365[b][1][A] to cure defaults under Contracts to which a Debtor is a party and which will
be assumed pursuant to the Plan. Such Cure Payment shall be conclusively determined and set for each
such Contract at the Confirmation Hearing.
       (w)     “Debtors” shall mean Red Mountain, RMR, Black Rock and Cross Border.
        (x)    “Disallowed,” when used with respect to a Claim, shall mean a Claim that has been
disallowed by Final Order.
         (y)     “Effective Date” shall mean a Business Day selected by the Debtors which is at least
fifteen [15] days but not more than thirty [30] days after the Confirmation Date.
        (z)     “Equity Interest” shall mean any (i) stock or membership interest or other instrument
evidencing an ownership interest in a Debtor, (ii) right in a Debtor represented by an “equity security,”
as defined on section 101[16] of the Bankruptcy Code, or (iii) and any option, warrant or right,
contractual or otherwise, to acquire an interest or security described in (i) or (ii), whether or not
transferable, that existed immediately prior to the Effective Date, including but not limited to
redemption, conversion, exchange, voting, participation, dividend rights, and liquidation preferences.
Equity Interests shall include, where applicable, Preferred Equity Interests.
         (aa)     “Estimated Amount” shall mean the maximum amount at which the Bankruptcy
Court or, where required by applicable law, a United States District Court, estimates any Claim [or class
of Claims] against a Debtor which is contingent, unliquidated or disputed, including, for the purpose of:
[a] distribution under § 502[c], Bankruptcy Code; or [b] determining the feasibility of this Plan pursuant
to § 1129[a][11], Bankruptcy Code for purposes of its confirmation.
        (bb) “Estimation Order” means an Order of the Bankruptcy Court or, where required by
applicable law, the District Court, that determines the Estimated Amount of any Claim [or class of
Claims], against a Debtor for any of the purposes as provided in this Plan.
        (cc)   “Federal Judgment Rate” shall mean the rate referenced in 28 U.S.C. § 1961 in
effect on the Petition Date, compounded annually.
        (dd) “Fee Application” shall mean an application of a Professional Person under section
330 or 503 of the Bankruptcy Code for allowance of compensation and reimbursement of expenses in
the Chapter 11 Cases.
       (ee)   “Fee Claim” shall mean a Claim of a Professional Person under section 330 or 503 of
the Bankruptcy Code for allowance of compensation and reimbursement of expenses in the Chapter 11
Cases.
        (ff)   “Final Order” shall mean [1] an order of a court having jurisdiction over the subject
matter and person which has been entered and as to which the time to appeal, petition for certiorari or
move for reargument or rehearing has expired and as to which no appeal, petition for certiorari or other
proceedings for reargument or rehearing shall then be pending or [2] in the event that an appeal, writ of


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certiorari, reargument or rehearing thereof has been sought, such order shall have been affirmed by the
highest court to which such order was appealed, or certiorari has been denied or from which
reargument or rehearing was sought, and the time to take any further appeal, petition for certiorari or
move for reargument or rehearing shall have expired; provided, however, that no order shall fail to be a
Final Order solely because of the possibility that a motion pursuant to Rule 60 of the Federal Rules of
Civil Procedure may be filed with respect to such order.
        (gg)    “General Unsecured Claim” shall mean any Claim against a Debtor that is not the
claim of an Interest Burden Payee, a Priority Non-Tax Claim, a Secured Claim, a Class 5 Claim, or an
Unclassified Claim.
        (hh)    "Intercompany Claim" shall mean any Claim by a Debtor held by another Debtor.
         (ii)    “Interest Burden Payees” shall mean the holder, pursuant to a written agreement, of a
right to capture minerals in exchange for either a share of production or payments on account of a
share of production; whether created before or after an oil and gas lease was entered into or which may
exist in the absence of an oil and gas lease, including but not limited to overriding royalty interests, non-
participating royalty interests, net profits interests, production payments, shut in royalties, working
interests and unleased mineral interests.
        (jj)    “Lienholder” shall mean the holder of a Lien.
       (kk) “Mineral Owner” shall mean a third party owner of mineral interests in oil, natural
gas, and other minerals in place under a parcel of land that has entered into a written agreement with
a Debtor to enter and capture oil, natural gas or other minerals through exploration, drilling, and
production operations.
        (ll)    “Objection Deadline” shall mean the date by which objections to Claims shall be filed
with the Bankruptcy Court and served upon the respective holders of each of the Claims as provided in
Section 9.1 of the Plan.
        (mm) “Petition Date” shall mean March 8, 2016.
        (nn) “Plan” or “Plan of Reorganization” shall mean this Third Amended Joint Plan of
Reorganization, either in its present form or as it may hereafter be altered, amended or modified from
time to time.
        (oo)    “Plan Funder” shall mean Stone Street, Inc.
        (pp) “Priority Non-Tax Claim” shall mean a Claim of the kind specified in section
507[a][3], [4], [5], [6], [7], [9] or [10] of the Bankruptcy Code.
         (qq)    “Priority Tax Claim” shall mean a Claim of a governmental unit of the kind specified
in section 507[a][8] of the Bankruptcy Code, specifically including but not limited to claims for tax years
ending on or before the Petition Date.
        (rr)    “Preferred Equity Interests” shall mean the 10.0% Series A Cumulative Redeemable
Preferred Stock in Red Mountain designated by the Red Mountain Board of Directors on November
13, 2015.
        (ss)    “Pro Rata” shall mean
                (i)     if used in reference to a distribution of property to holders of Allowed Claims, a
                        proportionate Distribution so that with respect to a particular Allowed Claim in
                        such Class or group of Claims, the ratio of (a) (i) the amount of property
                        distributed on account of such Claim to (ii) the amount of such Claim, is the



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                        same as the ratio of (b) (i) the amount of property distributed on account of all
                        Allowed Claims in such Class or group of Claims to (ii) the amount of all
                        Allowed Claims in such Class or group of Claims; and
                (ii)    if used in reference to holders of Equity Interests, a proportionate distribution
                        so that with respect to a particular holder of an Equity Interest the ratio of (a)(i)
                        the number of shares of Equity Interests held by a particular holder to (ii) the
                        number of shares of New Red Mountain Equity distributed to such holder
                        pursuant to the Plan, is the same as the ratio of (b)(i) the total number of shares
                        of Equity Interests held by all holders in the same Class to (ii) the total number
                        of shares of New Red Mountain Equity distributed to such Class pursuant to
                        the Plan.
        (tt)   “Professional Person” shall mean a person retained or to be compensated pursuant to
section 327, 328, 330, 503[b][2] or 1103 of the Bankruptcy Code.
        (uu)    “Red Mountain” shall mean Red Mountain Resources, Inc.
         (vv) “Red Mountain Available Cash” shall mean an amount of Cash equal to $100,000.00
to be allocated to pay holders of Allowed Class 4RD and 6RD Claims.
        (ww)    “RMR” shall mean RMR Operating, LLC.
        (xx)    “Reorganized Debtors” shall mean the Debtors, as reorganized, on and after the
Effective Date.
        (yy)     “Schedules” shall mean the Schedules of assets and liabilities and the statements of
financial affairs filed by the Debtors as required by section 521 of the Bankruptcy Code and Bankruptcy
Rule 1007, as such Schedules and statements have been or may be supplemented or amended.
        (zz)     “Secured Claim” shall mean a Claim secured by a Lien on property of a Debtor, which
Lien is valid, perfected and enforceable under applicable law, is not subject to avoidance under the
Bankruptcy Code or other applicable non-bankruptcy law and which is duly established in the Chapter
11 Cases, but only to the extent of the value of the Collateral that secures payment of such Claim.
       (aaa) “Stock Election” means a vote indicated on the Ballot of the Holder of a Class 4RR
Claim affirmatively opting to receive Common Stock in Cross Border in lieu of a Cash distribution on
account if such holder’s Class 4RR Claim and Class 6RR Claim, in accordance with Section 4.1[f] of the
Plan.
       (bbb) “Tax Liens” shall mean any statutory Liens securing any Allowed Secured Claims of
any Ad Valorem Taxing Authority. Tax Liens shall in all events include Liens which secure the
payment of 2010 and prior years’ ad valorem taxes.
        (ccc)   “Unclassified Claim” shall mean any Priority Tax Claim or Administrative Claim.
        (ddd) “Unsecured Claim” shall mean a Claim other than a Secured Claim.
Unless a different definition is given in the Plan, all capitalized terms used in the Plan shall have the
same meaning as ascribed in such terms in section 101 of the Bankruptcy Code. The rules of
construction contained in section 102 of the Bankruptcy Code shall apply to the construction of the
Plan.

        1.2     Interpretation.




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        Unless otherwise specified, all section, article and exhibit references in the Plan are to the
respective section in, article of or exhibit to the Plan, as the same may be amended, waived or modified
from time to time. The headings in the Plan are for convenience of reference only and shall not limit
or otherwise affect the provisions of the Plan. Words denoting the singular number shall include the
plural number and vice versa, and words denoting one gender shall include the other gender. All
exhibits and schedules attached to the Plan are incorporated herein by such attachment.

       1.3     Reorganized Debtors.
        The Plan shall be liberally construed for the benefit of the Debtors and Reorganized Debtors
regarding the interchangeableness of the term “Debtors” with the term “Reorganized Debtors” and other
instances of the use “Reorganized.”

                               ARTICLE 2: CLASSIFICATION OF CLAIMS

       2.1     Claims Classified.
        For purposes of organization and all confirmation matters, except as otherwise provided herein,
all Claims [except for Administrative Claims and Priority Tax Claims] shall be classified as set forth in
this Article 2 of the Plan.

       2.2     Administrative Claims and Priority Tax Claims.
       Administrative Claims and Priority Tax Claims against a Debtor shall not be classified for
purposes receiving distributions under the Plan. Rather, all such Claims shall be treated separately as
Unclassified Claims on the terms set forth in Article 5 of the Plan.

       2.3     Claims.

        With the exception of Unclassified Claims, the Plan classifies the Claims against the Debtors as
follows:

       [a]    Class 1RD:        Any Allowed Secured Claims of Ad Valorem Taxing Authorities
                                against Red Mountain.
       [b]    Class 1RR:        Any Allowed Secured Claims of Ad Valorem Taxing Authorities
                                against RMR.
       [c]    Class 1CB:        Any Allowed Secured Claims of Ad Valorem Taxing Authorities
                                against Cross Border.
       [d]    Class 1BR:        Any Allowed Secured Claims of Ad Valorem Taxing Authorities
                                against Black Rock.
        [e]   Class 2RR:        Any Allowed Claims of Interest Burden Payees against RMR.
       [f]    Class 2CB:        Any Allowed Claims of Interest Burden Payees against Cross Border.
       [g]    Class 2BR:        Any Allowed Claims of Interest Burden Payees against Black Rock.
       [h]    Class 3RD[A]-[Z]: Any Allowed Secured Claims not Otherwise Classified against Red
                                Mountain.
       [i]    Class 3RR[A]-[Z]: Any Allowed Secured Claims not Otherwise Classified against RMR.
       [j]    Class 3CB[A]-[Z]: Any Allowed Secured Claims not Otherwise Classified against Cross
                                Border.


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       [k] Class 3BR[A]-[Z]: Any Allowed Secured Claims not Otherwise Classified against Black
                             Rock
       [l] Class 4RD:        All Allowed Priority Non-Tax Claims against Red Mountain.
       [m] Class 4RR:        All Allowed Priority Non-Tax Claims against RMR.
       [n] Class 4CB:        All Allowed Priority Non-Tax Claims against Cross Border.
       [o] Class 5:          All Claims of Black Shale.
       [p] Class 6RD:        Any Allowed General Unsecured Claims against Red Mountain.
       [q] Class 6RR:        Any Allowed General Unsecured Claims against RMR.
       [r] Class 6CB:        Any Allowed General Unsecured Claims against Cross Border.
       [s] Class 6BR:        Any Allowed General Unsecured Claims against Black Rock.
       [t] Class 7RR:        Allowed Equity Interests in RMR.
       [u] Class 7CB:        Allowed Equity Interests in Cross Border.
       [v] Class 7BR:        Allowed Equity Interests in Black Rock.
       [w] Class 7RD:        Allowed Equity Interests in Red Mountain.
       [x] Class 8RR:        Any Allowed Claims of Mineral Owners against RMR.
       [y] Class 8CB:        Any Allowed Claims of Mineral Owners against Cross Border.
       [z] Class 8BR:        Any Allowed Claims of Mineral Owners against Black Rock.

                   ARTICLE 3: IDENTIFICATION OF IMPAIRED CLASSES OF CLAIMS

       3.1     Impaired Classes of Claims and Equity Interests.
       The following classes of Claims and Equity Interests are impaired: 1CB, 1BR, 1RD, 1RR, 4RR,
4CB, 6CB, 6BR, and 6RD . All other classes of Claims are unimpaired.

       3.2     Impairment Controversies.
        If a controversy arises as to whether any Claim or any class of Claims is impaired under the
Plan, the Bankruptcy Court shall, upon notice and a hearing, determine such controversy.

                      ARTICLE 4 : PROVISIONS FOR TREATMENT OF CLASSIFIED
                        CLAIMS AND EQUITY INTERESTS UNDER THE PLAN

       4.1     Treatment of Classified Claims.
       The classes of Claims against the Debtors shall be treated under the Plan as follows:

         [a]     Classes 1RD, 1RR, 1CB and 1BR – Any Allowed Secured Claims of Ad Valorem Taxing
Authorities. On the later of the Effective Date or the day upon which a Contested Class 1RD, 1RR, 1CB
or 1BR Claim becomes Allowed, in full and final satisfaction of its Allowed Secured Claim, each holder
of an Allowed Secured Claim in Class 1RD, 1RR, 1CB or 1BR shall receive two equal Cash payments
of such Allowed Secured Claim without penalties accruing after the Petition Date. The first payment
shall be made on the Effective Date and the second payment shall be made six [6] months following
the Effective Date. For purposes of calculating the amount of a Class 1 Allowed Secured Claim,
Claims in Class 1RD, 1RR, 1CB or 1BR shall bear interest from and after the Petition Date at the rate
provided under applicable non-bankruptcy law. In the event of an objection to a Claim in this Class,



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any payments made to the holder of such Claim on account of such Claim while the objection is
pending shall be applied to the undisputed amount of the Claim. Any Ad Valorem Taxing Authority
shall retain its Liens to secure its Allowed Class 1RD, 1RR, 1CB or 1BR Claim until the Allowed
Secured Claim is paid.

        [b]     Classes 2RR, 2CB and 2BR – Any Allowed Claims of Interest Burden Payees. On the later of
the Effective Date or the day upon which a Contested Class 2RR, 2CB or 2BR Claim becomes
Allowed, in full and final satisfaction of its Allowed Class 2RR, 2CB or 2BR Claim, each holder of an
Allowed Secured Claim in Class 2RR, 2CB or 2BR shall receive a Cash payment equal to such Allowed
Class 2RR, 2CB or 2BR Claim, with interest as provided under applicable non-bankruptcy law.
Notwithstanding any contractual provision or applicable law that entitles the holder of an Allowed
Class 2RR, 2CB or 2BR Claim to demand or receive accelerated payment of such claim after the
occurrence of a default, unless an objection to this Plan is received demanding cure of a specified
default, entry of the Confirmation Order shall:

        [i] be deemed to cure any default that occurred before or after the Petition Date, other than a
default of a kind specified in Bankruptcy Code Section 365 [b][2];
        [ii] reinstate the maturity of such Allowed Class 2RR, 2CB or 2BR Claim as such maturity
existed before such default;
        [iii] finally determine that no compensation is due the holder of such Allowed Class 2RR, 2CB
or 2BR Claim for any damages incurred as a result of any reasonable reliance by such holder on such
contractual provision or such applicable law, including but not limited to any attorney’s fees or costs
associated with enforcement of such Interest Burden Payee’s Allowed Class 2RR, 2CB or 2BR Claim;
and
        [iv] otherwise leave unaltered the legal, equitable, or contractual rights of such holder of such
Allowed Class 2RR, 2CB or 2BR Claim.

        [c]      Class 3RD[A] through 3RD[Z], 3RR[A] through 3RR[Z], 3CB[A] through 3CB[Z], and
3BR[A] through 3BR[Z] –Any Allowed Secured Claims not Otherwise Classified. On the later of the Effective
Date or the day upon which a Contested Class 3RD, 3RR, 3CB or 3BR Claim becomes Allowed, in full
and final satisfaction of its Allowed Class 3RD, 3RR, 3CB or 3BR Claim, each holder of an Allowed
Class 3RD, 3RR, 3CB or 3BR Claim against a Debtor, shall receive, at the applicable Reorganized
Debtor’s option, either [i] a Cash payment in the amount of such holder’s Allowed Class 3RD, 3RR,
3CB or 3BR Claim; [ii] payment pursuant to the pre-Petition Date agreements between such holder and
such applicable Debtor and retention of its Liens to secure the payment of the Allowed Class 3RD,
3RR, 3CB or 3BR Claim, or [iii] the surrender to such holder of all Collateral securing such Allowed
Class 3RD, 3RR, 3CB or 3BR Claim in accordance with In re Sandy Ridge Development Corp, 881 F.2d
1346 [5th Cir. 1989], in which case such Allowed Class 3RD, 3RR, 3CB or 3BR Claim shall be deemed
paid in full and fully satisfied and any deficiency thereon shall be treated as a Class 6 General
Unsecured Claim against the Debtor which is liable for the Allowed Class 3 Claim. For purposes of the
Plan, each Allowed Class 3RD, 3RR, 3CB or 3BR Claim shall be deemed separately classified into a
subclass by Debtor [e.g., 3RD[A], 3RD[B], 3RR[A], 3RR[B], 3CB[A], 3CB[B], 3BR[A], 3BR[B]] and the
election made above made be made independently as to each such subclass. In the event that a
Reorganized Debtor elects to provide the treatment referenced under [ii] of this paragraph, and
notwithstanding any contractual provision or applicable law that entitles the holder of an Allowed Class
3RD, 3RR, 3CB or 3BR Claim to demand or receive accelerated payment of such claim after the
occurrence of a default, unless an objection to this Plan is received demanding cure of a specified
default, entry of the Confirmation Order shall:



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        [i] be deemed to cure any default that occurred before or after the Petition Date, other than a
default of a kind specified in Bankruptcy Code Section 365 [b][2];
        [ii] reinstate the maturity of such Allowed Class 3RD, 3RR, 3CB or 3BR Claim as such maturity
existed before such default;
        [iii] finally determine that no compensation is due the holder of such Allowed Class 3RD, 3RR,
3CB or 3BR Claim for any damages incurred as a result of any reasonable reliance by such holder on
such contractual provision or such applicable law including but not limited to any attorney’s fees or
costs associated with enforcement of such holder’s Allowed Class 3RD, 3RR, 3CB or 3BR Claim; and
        [iv] otherwise leave unaltered the legal, equitable, or contractual rights of such holder of such
Allowed Class 3RD, 3RR, 3CB or 3BR Claim.

        [d]     Notwithstanding the foregoing, the Reorganized Debtors and any holder of an Allowed
Secured Claim may agree to any alternate treatment of such Secured Claim, which treatment shall
include preservation of such holder’s Lien; provided, however, that such treatment shall not provide a
return to such holder of an amount having a present value in excess of the amount of such holder’s
Allowed Secured Claim. Each such agreement shall be presented to the Bankruptcy Court before or
within 90 days after the Effective Date and shall not materially and adversely impact the treatment of
any other creditor under the Plan.

         [e]     Class 4RD – Any Allowed Priority Non-Tax Claim Against Red Mountain. On the later of the
Effective Date or the day upon which a Contested Class 4RD Claim becomes Allowed, in full and final
satisfaction of its Allowed Class 4RD Claim, each holder of an Allowed Claim in Class 4RD shall
receive a Cash payment equal to such Allowed Class 4RD Claim.

         [f]     Class 4RR – Any Allowed Priority Non-Tax Claim Against RMR. On the later of the
Effective Date or the day upon which a Contested Class 4RR Claim becomes Allowed, in full and final
satisfaction of its Allowed Class 4RR Claim, each holder of an Allowed Claim in Class 4RR shall receive
at the option of the holder of the Allowed Class 4RR Claim either [i] a Cash payment equal to such
Allowed Class 4RR Claim; or [ii] a Pro Rata Share of 5% of the Equity Interest in Cross Border
calculated based upon the total Allowed amount of each holder of an Allowed Class 4CB Claim and
Allowed Class 4RR Claim making the Stock Election. Any holder of an Allowed Class 4RR Claim
making the Stock Election shall receive no distribution on such holder’s Allowed Class 6RR Claim.

         [g]     Class 4CB – Any Allowed Priority Non-Tax Claim Against Cross Border. On the later of the
Effective Date or the day upon which a Contested Class 4CB Claim becomes Allowed, in full and final
satisfaction of its Allowed Class 4CB Claim, each holder of an Allowed Claim in Class 4CB shall receive
at the option of the holder of the Allowed Class 4CB Claim either [i] a Cash payment equal to such
Allowed Class 4CB Claim; or [ii] a Pro Rata Share of 5% of the Equity Interest in Cross Border
calculated based upon the total Allowed amount of each holder of an Allowed Class 4CB Claim and
Allowed Class 4RR Claim making the Stock Election. Any holder of an Allowed Class 4CB Claim
making the Stock Election shall receive no distribution on such holder’s Allowed Class 6CB Claim.

      [h]     Classes 5– Any Allowed Claims of Black Shale. Black Shale shall retain all rights under its
agreements with the Debtors. Confirmation of the Plan shall

        [i] be deemed to cure any default that occurred before or after the Petition Date, other than a
        default of a kind specified in Bankruptcy Code Section 365 [b][2];
        [ii] reinstate the maturity of such Allowed Class 5 Claim as such maturity existed before such
        default;


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        [iii] finally determine that no compensation is due the holder of such Allowed Class 5 Claim for
        any damages incurred as a result of any reasonable reliance by such holder on such contractual
        provision or such applicable law including but not limited to any attorney’s fees or costs
        associated with enforcement of such holder’s Allowed Class 5 Claim; and
        [iv] otherwise leave unaltered the legal, equitable, or contractual rights of such holder of such
        Allowed Class 5 Claim.

         [i]     Class 6RD –Any Allowed General Unsecured Claims against Red Mountain. On the later of the
Effective Date or the day upon which a Contested General Unsecured Claim in Class 6RD becomes
Allowed, each holder of an Allowed General Unsecured Claim in Class 6RD shall receive, in full and
final satisfaction of such Allowed Claim, a Cash payment equal to its Pro Rata Share of the Red
Mountain Available Cash after the payment of the Claims of holders of Allowed Class 4RD Claims.

       [j]     Class 6RR –Any Allowed General Unsecured Claims against RMR. Holders of Allowed
Claims in Class 6RR shall receive no distribution on account of their Claims.

         [k]     Class 6CB –Any Allowed General Unsecured Claims against Cross Border. On the later of the
Effective Date or the day upon which a Contested General Unsecured Claim in Class 6CB becomes
Allowed, each holder of an Allowed General Unsecured Claim in Class 6CB shall receive, in full and
final satisfaction of such Allowed Claim, deferred quarterly Cash payments beginning one [1] year
following the Effective Date and ending on the 11th anniversary of the Effective Date in an amount
necessary to amortize such holder’s Allowed Class 6CB Claim over a eleven [11] year period with
interest at the Federal Judgment Rate.

         [l]     Class 6BR –Any Allowed General Unsecured Claims against Black Rock. On the later of the
Effective Date or the day upon which a Contested General Unsecured Claim in Class 6BR becomes
Allowed, each holder of an Allowed General Unsecured Claim in Class 6BR shall receive, in full and
final satisfaction of such Allowed Claim, a Cash payment in equal to its Pro Rata share of the Black
Rock Available Cash.

        [m]     Class 8RR, 8CB and 8BR - Any Allowed Claims of Mineral Owners Against RMR, Cross Broder
or Black Rock. Mineral Owners shall retain all rights under their agreements with each applicable
Reorganized Debtor. Confirmation of the Plan shall

        [i] be deemed to cure any default that occurred before or after the Petition Date, other than a
        default of a kind specified in Bankruptcy Code Section 365[b][2];
        [ii] reinstate the maturity of such Allowed Class 8RR, 8CB, or 8BR Claim as such maturity
        existed before such default;
        [iii] finally determine that no compensation is due the holder of such Allowed Class 8RR, 8CB,
        or 8BR Claim for any damages incurred as a result of any reasonable reliance by such holder on
        such contractual provision or such applicable law including but not limited to any attorney’s
        fees or costs associated with enforcement of such holder’s Allowed Class 8RR, 8CB, or 8BR
        Claim; and
        [iv] otherwise leave unaltered the legal, equitable, or contractual rights of such holder of such
        Allowed Class 8RR, 8CB, or 8BR Claim.




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        4.2     Treatment of Equity in the Debtors.
       [a]      Class 7RD –Equity Interests in Red Mountain. The existing Equity Interests in Red
Mountain will be extinguished. Accordingly, holders of Class 7RD Equity Interests will not retain their
Equity Interests in Red Mountain. Red Mountain will be dissolved under applicable non-bankruptcy
law.

         [b]     Class 7RR – Equity Interests in RMR. All Equity Interests in RMR held by Red Mountain
will be transferred to Cross Border.

        [c]     Class 7CB – Equity Interests in Cross Border. 5% of the Equity Interests in Cross Border
held by Red Mountain will be transferred to holders of Allowed Class 4RR Claims and Allowed Class
4CB Claims making the Stock Election. The remaining 78% of the Equity Interests in Cross Border
held by Red Mountain will be transferred to the Plan Funder. Any other Holders of Equity Interests in
Class 7CB will retain their Equity Interests in Cross Border.

      [d]      Class 7BR – Equity Interests in Black Rock. All Equity Interests in Black Rock held by Red
Mountain will be transferred to Cross Border.

                             ARTICLE 5 : PROVISIONS FOR TREATMENT OF
                              UNCLASSIFIED CLAIMS UNDER THE PLAN

        5.1     Treatment of Administrative Claims.
         The holder of an Administrative Claim [including Fee Claims] incurred before the Effective
Date shall be required to file with the Bankruptcy Court, and serve on all parties required to receive
notice, an application for the allowance of such Administrative Claim and, if applicable, a Fee
Application within forty-five [45] days after the Confirmation Date. Failure to file and serve these
documents timely and properly shall result in the Administrative Claim being forever barred and
discharged; provided, however, that the Reorganized Debtors may, but are not obligated to, pay any
Administrative Claim representing a liability incurred in the ordinary course of business of the Debtors
or that is held by an Ad Valorem Taxing Authority even in the absence of the timely filing of such
documents. Each holder of an Administrative Claim against a Debtor which is ordered to be paid
pursuant to a Final Order shall receive upon the date on which such orders becomes a Final Order [1]
the amount of such holder’s Allowed Administrative Claim in one Cash payment or [2] such other
treatment as may be agreed upon in writing by the Reorganized Debtors and such holder.
Administrative Claims. Ad Valorem Taxing Authorities are not required to file an Administrative
Expense claim or a request for payment in order for such Allowed Administrative Expense Claim to be
entitled to payment.

        5.2     Treatment of Priority Tax Claims.
        Each holder of an Allowed Priority Tax Claim shall receive in full satisfaction of such holder’s
Allowed Priority Tax Claim a Cash payment in the amount of the Allowed Priority Tax Claim on or
before the later of [i] the Effective Date, or [ii] ten [10] Business Days after the Priority Tax Claim is
Allowed.

        5.3     Treatment of Intercompany Claims.



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        No other distributions will be made on account of Intercompany Claims.


                        ARTICLE 6 : ACCEPTANCE OR REJECTION OF THE PLAN
        6.1     Classes Entitled to Vote.
        Classes 1CB, 1BR, 1RD, 1RR, 4RR, 4CB, 6CB, 6BR, and 6RD are entitled to vote.

        6.2     Cramdown.
        Should the Bankruptcy Court determine that one or more Classes of Claims is entitled to vote
on the Plan, then if any such Class of Claims shall fail to accept the Plan in accordance with section
1126[c] of the Bankruptcy Code, the Debtors request confirmation of the Plan in accordance with
section 1129[b] of the Bankruptcy Code.

                      ARTICLE 7 : MEANS FOR IMPLEMENTATION OF THE PLAN

        7.1     Funding of Plan Distributions

       The Plan Funder will contribute $100,000 to the Plan. Red Mountain, RMR, Cross Border and
Black Rock will each will retain sufficient assets to make the payments called for by the Plan.

        7.2     Vesting of Assets and Retention of Causes of Action.
        On the Effective Date, all real and personal property of the estate of each of the Debtors,
including but not limited to all causes of action of each Debtor and its estate (except for Cash in the
amount needed to make the distributions called for by each Debtor under the Plan) shall vest in the
Applicable Reorganized Debtor except for the assets of Red Mountain which shall vest in Cross
Border. Such vesting shall be subject to any Liens of holders of Allowed Secured Claims; provided that
upon any subsequent conversion to a case under chapter 7, all assets vesting in a Reorganized Debtor,
shall pass to the chapter 7 trustee as property of the chapter 7 estate subject to those Claims, Liens, and
encumbrances as Allowed and restructured in this Plan and as specified herein.

        Any and all claims, causes of action and enforceable rights of a Debtor against third parties, or
assertable by the Debtors on behalf of their Creditors, their estates or themselves, whether brought in
the Bankruptcy Court or any other forum, shall be retained by the applicable Reorganized Debtor
pursuant to Bankruptcy Code Section 1123[b][3][B] (again, except for those of Red Mountain which
shall vest in Cross Border). Without limiting the foregoing, the Reorganized Debtors are specifically
retaining claims against:

                (1) third-parties (including but not limited to vendors to the Debtors) for obligations,
                transfers of property or interests in property, offsets, debt forgiveness, rebates, Cash, and
                other types or kinds of property or interests in property (or the value thereof), recoverable
                or avoidable pursuant to §§ 544, 545, 547, 548, 549, 550 and 553, Bankruptcy Code or any
                applicable law;

                (2) third-parties for damages, general or exemplary (or both) or other relief, relating to or
                based upon (A) indebtedness owing to Debtors, (B) fraud, negligence, gross negligence,



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               willful misconduct, or any other tort actions, (C) breaches of contract, (D) violations of
               federal or state securities laws, (E) violations of applicable corporate laws, (F) breaches of
               fiduciary or agency duties, (G) causes of action based on disregard of the corporate form or
               piercing the corporate veil or other liability theories;

               (3) rights existing under applicable agreements between the Debtors and Black Shale;

               (4) third-parties for damages or other relief based upon any other claim of Debtors to the
               extent not specifically compromised or released by Order of the Bankruptcy Court or
               pursuant to this Plan or an agreement referred to, or incorporated into, this Plan.

       7.3     Assumption of Liabilities.
       The liability for and obligations under the Plan shall be assumed by and become obligations of
the Reorganized Debtors.

       7.4     Estimated Claims.

        Except as otherwise provided herein, the Court may estimate for purposes of allowance
pursuant to § 502[c], Bankruptcy Code, [i] any Contested Claim or unliquidated Claim, or [ii] any
portion or part of an Claim that is, itself, unliquidated. Any Estimation Order, to the extent it becomes
a Final Order, shall determine the amount of the Allowed Claim so estimated.

       7.5     Claims on File; No Allowance of Untimely Claims.

        The Debtors are relying on the formal proofs of Claims on file and the Debtors’ Schedules
currently on file in seeking confirmation of the Plan. No informal proof of claim shall be deemed to
have been filed in these Chapter 11 Cases.

       7.6     Officers and Directors.

        The managers, officers and directors of the Reorganized Debtors shall be those managers,
officers and directors as of the Effective Date until other managers, officers or directors are designated
pursuant to applicable non-bankruptcy law.

       7.7     Transfer of Cross Border Equity Interests.

                 The transfer of the Cross Border Equity Interests to the Plan Funder is exempt from
the registration requirements of Section 5 of the Securities Act, pursuant to Section 4(a)(2) the
Securities Act of 1933 (as amended).


                        ARTICLE 8 : PROVISIONS GOVERNING DISTRIBUTIONS

       8.1     Distributions.
       Except as otherwise provided in this Plan, any distributions and deliveries to be made under the
Plan shall be made on the Effective Date, as funds are available, or as the Bankruptcy Court may order.




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        8.2     Delivery of Distributions.
        Subject to Bankruptcy Rule 9010, distributions to holders of Allowed Claims shall be made at
the address of each such holder as set forth on the proofs of Claim filed by such holders [or at the last
known address of such a holder if no proof of Claim is filed or if the Debtors have been notified in
writing of a change of address]. If any holder’s distribution is returned as undeliverable, no further
distributions to such holder shall be made unless and until the Debtors are notified in writing of such
holder’s then current address, at which time all missed distributions shall be made to such holder
without interest. After the first anniversary of the Effective Date, all unclaimed property shall revert to
the Reorganized Debtors or any successor thereto, and the Claim of any holder with respect to such
property shall be discharged and forever barred.

        8.3     Time Bar to Cash Payments.
        Checks issued by Reorganized Debtors in respect of Allowed Claims shall be null and void if
not negotiated within six months after the date of issuance thereof. Requests for reissuance of any
check shall be made directly to the Reorganized Debtors by the holder of the Allowed Claim with
respect to which such check originally was issued. Any Claim in respect of such a voided check shall be
made on or before the later of [1] the first anniversary of the Effective Date or [2] 90 days after the date
of reissuance of such check. After such date, all Claims in respect of void checks shall be discharged
and forever barred.

        8.4     Withholding of Taxes.

        The Reorganized Debtors shall withhold from any assets and property distributed under this
Plan any assets and or property which must be withheld for federal, state and local taxes payable by the
Entity entitled to such property to the extent required by applicable law.

                                          ARTICLE 9 :
                             PROCEDURES FOR RESOLVING AND TREATING
                                CONTESTED CLAIMS UNDER THE PLAN

        9.1     Objection Deadline.
          As soon as practicable, but in no event later than ninety [90] days after the Effective Date,
unless otherwise ordered by the Bankruptcy Court, objections to Claims shall be filed with the
Bankruptcy Court and served upon the holders of each of the Claims to which objections are made.
Notwithstanding the foregoing sentence, as to any Claim which is filed after the Effective Date, an
objection to such Claim shall be filed on or before ninety [90] days after the date on which such Claim
is filed.

        9.2     No Distributions Pending Allowance.
        Notwithstanding any other provision of the Plan, no payment or distribution shall be made
with respect to the disputed portion of any Claim to the extent it is a Contested Claim unless and until
such Contested Claim becomes an Allowed Claim. Payments and distributions to each holder of a
Contested Claim, to the extent that such Claim ultimately becomes an Allowed Claim, shall be made in
accordance with the provisions of the Plan governing the class of Claims to which the respective holder
belongs.




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        9.3     Contested Claims.

        [a]     Establishment of Contested Claims Reserve. Notwithstanding any other provision of
this Plan, no assets or property shall be distributed under this Plan on account of any Contested Claim.
For all Contested Claims, the Reorganized Debtors shall establish and hold, in trust, distributions to be
made on account of any Claim [each such reserve being herein called a “Contested Claims Reserve”]
which is a Contested Claim, and shall place in each Contested Claims Reserve the assets and property
to be distributed on account of such Contested Claims pursuant to this Plan, pending Allowance or
Disallowance of such Claim. Pending entry of a Final Order concerning a Contested Claim, the
Reorganized Debtors shall pay into the Contested Claims Reserve all payments provided for under this
Plan which would have been required to be delivered to the holder of the Contested Claim as if the
Contested Claim were an Allowed Claim. Cash held in any Contested Claims Reserve shall be held in a
segregated interest-bearing trust account. To the extent practicable, the Reorganized Debtors may
invest the Cash in any Contested Claims Reserve in a manner that will yield a reasonable net return,
taking into account the safety of the investment. Each Contested Claims Reserve shall be held in a
federally-insured financial institution. No funds shall be released from a Contested Claims Reserve
absent an order from the Bankruptcy Court.

         [b]    Determination of Contested Claims Reserve. The Debtors shall establish and fund a
Contested Claims Reserve in respect of each Contested Claim in an amount asserted by the holder of a
Contested Claim in a filed proof of claim, or if no proof of claim is filed, the amount, if any, set forth in
the Debtor’s Schedules. Notwithstanding the foregoing, with respect to any Contested Claim, the
Debtors may seek to establish a different amount of the Contested Claims Reserve applicable to such
Contested Claim after notice and opportunity for a hearing to the holder of the Contested Claim. The
Bankruptcy Court may, at any time, including upon request of a party in interest, determine for each
Contested Claim, the amount of assets and property sufficient to fund each Contested Claims Reserve
established with respect to any such Claim. Any unsecured claimant holding a Contested Claim so
estimated will have recourse only to undistributed assets and property in the Contested Claims Reserve
to satisfy the Contested Claim and not to the Reorganized Debtors or any other assets or property,
should the Allowed Claim of such claimant, as finally determined by a Final Order, exceed such
Estimated Amount.

         [c]   Return of Assets. Except as otherwise provided herein, all assets and properties [and all
interest payments and dividends previously paid in connection therewith] in any Contested Claims
Reserve remaining after the resolution of all disputes relating thereto shall be returned to the
Reorganized Debtors.


                                        ARTICLE 10:
                       PROVISIONS GOVERNING EXECUTORY CONTRACTS AND
                              UNEXPIRED LEASES UNDER THE PLAN

        10.1    Assumption or Rejection of Contracts.
        The Plan constitutes a motion to assume, as of the Effective Date, all Contracts. Except as set
forth in such motions or Orders of the Bankruptcy Court, as to assumed Contracts, [a] no cure of such
Contracts pursuant to Bankruptcy Code section 365[b][1][A] is necessary other than the Cure
Payments; [b] no Bankruptcy Code section 365[b][1][B] compensation is owing or shall be owing upon
the assumption of such Contracts; [c] confirmation of this Plan shall be deemed [i] adequate assurance



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of prompt cure of any default under such Contracts solely based upon a Debtor’s obligation in the Plan
to make the Cure Payments, [ii] adequate assurance of future performance under such Contracts, and
[iii] consent by the party to such Contract to the assignment or sublease of the property subject to the
Contract to any third party disclosed at the Confirmation Hearing.

        10.2    Bar to Rejection Damages.
        If the rejection of a Contract by a Debtor results in damages to the other party or parties to
such Contract, a Claim for such damages, if not heretofore evidenced by a filed proof of Claim, shall be
forever barred and shall not be enforceable against such Debtor, the Reorganized Debtors or their
respective property or their agents, successors or assigns, unless a proof of Claim is filed with the
Bankruptcy Court and served upon counsel for the Debtors on or before sixty [60] days following the
Effective Date.

        10.3    Insurance Policies.
        Notwithstanding anything in the Plan, all insurance policies under which a Debtor is the insured
party shall be deemed assumed as of the Confirmation Date. All payments upon such policies are
current; no cure payments are necessary.

        10.4    Effect on Royalty Interests and Oil & Gas Leases

        Nothing in the Plan shall affect, modify, or impair the rights of any holder of a royalty interest
in the production of the assets of a Debtor, which is otherwise valid, perfected, unavoidable and
enforceable in accordance with applicable law to receive royalty or other payments which become due
on and after the Effective Date.

        On the Effective Date, each Debtor's right, title and interest in and to all of such Debtor's oil &
gas leases, shall revest in such Debtor as reorganized hereby on the terms and conditions set forth in
the Plan. To the extent such oil & gas leases may be deemed to be, and treated as though they are,
executory contracts, such leases shall be deemed assumed pursuant to the Plan and section 365 of the
Bankruptcy Code consistent with Section 10.1 of the Plan.

                              ARTICLE 11 : RETENTION OF JURISDICTION

        11.1    Scope of Jurisdiction.
        Pursuant to sections 1334 and 157 of title 28 of the United States Code, until the time that an
order is entered closing the Chapter 11 Cases, the Bankruptcy Court shall, to the extent legally
permitted, retain and have jurisdiction over all matters arising in, arising under and related to the
Chapter 11 Cases and the Plan. The Bankruptcy Court shall retain jurisdiction to the fullest extent
allowed by applicable law, including but not limited to the following specific purposes:
               [a]      to modify this Plan pursuant to the Bankruptcy Rules and the Bankruptcy Code;
               [b]      to enforce and interpret the terms and conditions of this Plan;
               [c]      to enter such orders, including injunctions, as are necessary to enforce the title,
rights, and powers of the Reorganized Debtors;
               [d]      to enter an order concluding and terminating the Chapter 11 Cases;
               [e]      to correct any defect, cure any omission, or reconcile any inconsistency in this
Plan, or the Confirmation Order as may be necessary, consistent with the requirements of the



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Bankruptcy Code and Bankruptcy Rules to carry out the purposes and intent of this Plan, including the
adjustment of the date[s] of performance under this Plan in the event the Effective Date does not
occur as provided herein, so that the intended effect of this Plan may be substantially realized thereby;
                 [f]     to allow or disallow all Unclassified Claims, including Fee Claims;
                 [g]     to hear and determine any causes of action arising prior to the Effective Date or
thereafter or in any way related to this Plan or the transactions contemplated hereby;
                 [h]     to determine any and all applications pending on Confirmation for the rejection,
assumption or assignment of Contracts and the allowance of any Claim resulting therefrom;
                 [i]     to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;
                 [j]     to hear and determine any and all adversary proceedings, applications, and
contested matters, including any remands of appeals;
                 [k]     to ensure that distributions to holders of Allowed Claims are accomplished as
provided herein;
                 [l]     to hear and determine any timely objections to or applications concerning
Claims or the allowance, disallowance, classification, priority, compromise, estimation, or payment of
any Claim, or Equity Interest;
                 [m]     to enter and implement such orders as may be necessary or appropriate in the
event the Confirmation Order is for any reason stayed, revoked, modified, reversed, or vacated;
                 [n]     to enter and implement such orders as may be necessary or appropriate to
execute, interpret, implement, consummate, or enforce the Plan and the transactions contemplated
thereunder;
                 [o]     to hear and determine matters concerning state, local, and federal taxes in
accordance with §§ 346, 505, and 1146, Bankruptcy Code;
                 [p]     to adjudicate claims retained by the Reorganized Debtors in accordance with the
Plan, subject to referral to the District Court, if necessary;
                 [q]     to enter Estimation Orders;
                 [r]     to determine claims under 11 U.S.C. § 506[c] against the holders of any Allowed
Secured Claim; and
                 [s]     to enter orders implementing, or declaring the rights of the parties to, the Sale.

        11.2    Failure of the Bankruptcy Court to Exercise Jurisdiction.
        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under or related to this Case, including
the matters set forth in Section 11.1 of the Plan, this Article 11 shall have no effect upon and shall not
control, prohibit or limit the exercise of jurisdiction by any other court having jurisdiction with respect
to such matter.

                              ARTICLE 12 : MISCELLANEOUS PROVISIONS

        12.1    Setoff Rights.
         In the event that a Debtor has a claim of any nature whatsoever, including but not limited to a
11 U.S.C. 506[c] claim, against the holder of a Claim, then the Reorganized Debtor may, but is not
required to, setoff against the Claim [and any payments or other distributions to be made in respect of
such Claim hereunder], subject to the provisions of section 553 of the Bankruptcy Code. Neither the
failure to setoff nor the allowance of any Claim under the Plan shall constitute a waiver or release by




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such Debtor/Reorganized Debtor of any claim that such Debtor/Reorganized Debtor may have
against the holder of a Claim.

       12.2    Discharge.
        Entry of the Confirmation Order shall discharge all existing debts and Claims of any kind,
nature or description whatsoever against the Debtors or any of its assets or properties to the fullest
extent permitted by section 1141 of the Bankruptcy Code, including but not limited to Claims based
upon any act or omission, transaction or other activity of any kind or nature that occurred prior to the
Effective Date and all debts of the kind specified in sections 502[g], 502[h] or 502[i] of the Bankruptcy
Code, whether or not [a] a Proof of Claim based upon such debt is filed or deemed filed under section
501 of the Bankruptcy Code; [b] a Claim based upon such debt is allowed under section 502 of the
Bankruptcy Code; or [c] the holder of a Claim has accepted the Plan. As provided in section 524 of the
Bankruptcy Code, the discharge shall void any judgment against the Debtors or Reorganized Debtors at
any time obtained to the extent it relates to a Claim discharged and operates as an injunction against the
prosecution of any action against the Debtors, the Reorganized Debtors, or any of their property, to
the extent it relates to a Claim discharged. Notwithstanding anything to the contrary, this Section 12.2
does not enjoin creditors from enforcing their rights under the Plan and does not apply to post-petition
ad valorem taxes.

          Notwithstanding anything to the contrary in the Plan, nothing in the Confirmation Order or
this Plan discharges, limits, impairs, delays, releases, exculpates a Person from, or precludes or enjoins
the assertion of: (i) any liability to any Governmental Unit that is not a Claim; (ii) any Claim of a
Governmental Unit arising on or after the Confirmation Date; (iii) any police or regulatory liability to a
Governmental Unit that any entity would be subject to as the owner or operator of property after the
Confirmation Date; or (iv) any liability to a Governmental Unit on the part of any Person other than
the Debtors or Reorganized Debtors; (v) any Claim, cause of action, proceedings or investigations of
the U.S. Securities and Exchange Commission (“SEC”) against any non-Debtor Entity in any forum.
Nor shall anything in the Confirmation Order or this Plan enjoin or otherwise bar a Governmental
Unit from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. Nothing in this Plan or the Confirmation Order shall affect any setoff or recoupment rights
of any Governmental Unit. Finally, to the extent that the Debtors are subject to any existing
environmental orders or consent agreements, such orders or consent agreements shall continue after
the Effective Date and the Reorganized Debtors shall continue to comply with such orders or consent
agreements.



       12.3    Injunctions.
     EXCEPT AS PROVIDED IN THE PLAN OR THE CONFIRMATION ORDER, AS
OF THE EFFECTIVE DATE, ALL ENTITIES THAT HAVE HELD, CURRENTLY
HOLD OR MAY HOLD A CLAIM OR OTHER DEBT OR LIABILITY THAT IS
DISCHARGED PURSUANT TO THE TERMS OF THE PLAN SHALL BE
PERMANENTLY ENJOINED FROM TAKING ANY OF THE FOLLOWING ACTIONS
ON ACCOUNT OF ANY SUCH DISCHARGED CLAIM, DEBT OR LIABILITY:

    (I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
OTHER PROCEEDING AGAINST ANY DEBTOR OR REORGANIZED DEBTOR, OR




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ANY OF ITS PROPERTY, OTHER THAN TO ENFORCE ANY RIGHT TO A
DISTRIBUTION PURSUANT TO THE PLAN;

     (II) ENFORCING, ATTACHING, COLLECTING OR RECOVERING IN ANY
MANNER ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST ANY DEBTOR
OR REORGANIZED DEBTOR, OR ANY OF ITS PROPERTY, OTHER THAN AS
PERMITTED PURSUANT TO (I) ABOVE;

      (III) CREATING, PERFECTING OR ENFORCING ANY LIEN OR
ENCUMBRANCE AGAINST ANY DEBTOR OR REORGANIZED DEBTOR, OR ANY
OF ITS PROPERTY; AND


     (IV) COMMENCING OR CONTINUING ANY ACTION, IN ANY MANNER, IN
ANY PLACE THAT DOES NOT COMPLY WITH OR IS INCONSISTENT WITH THE
PROVISIONS OF THE PLAN.

        12.4    Pre-Petition Date Lawsuits and Insurance.
        On the Effective Date, all pre-Petition Date lawsuits, litigations, administrative actions or other
proceedings, judicial or administrative, in connection with the assertion of a Claim shall be dismissed as
to the Reorganized Debtors; provided however, if the appeal of any such matter is pending as of the
Confirmation Date, the Claim shall be determined by the appellate court[s] in which such case is
pending; provided further that if such case is reversed or remanded to the trial court, the Claim shall be
asserted in the Chapter 11 Cases and finally determined by the Bankruptcy Court.

        Dismissals of proceedings provided herein shall be with prejudice to the assertion of such
Claim in any manner other than as prescribed by the Plan. ALL PARTIES TO ANY SUCH
ACTION SHALL BE ENJOINED BY THE BANKRUPTCY COURT IN THE
CONFIRMATION ORDER FROM TAKING ANY ACTION TO IMPEDE THE
IMMEDIATE AND UNCONDITIONAL DISMISSAL OF SUCH ACTIONS. Confirmation
and consummation of the Plan shall have no effect on insurance policies of either of the Debtors in
which either of the Debtors is or was the insured party; and the Reorganized Debtors shall become the
insured party under any such policies. Each insurance company is prohibited from, and the
Confirmation Order shall include an injunction against, denying, refusing, altering or delaying coverage
on any basis regarding or related to the Debtors’ bankruptcy, the Plan or any provision within the Plan,
including the treatment or means of liquidation set out within the Plan.

        12.5    De Minimis Distributions.
        No distribution of less than $25.00 shall be made to any holder of an Allowed Claim. Such
undistributed amount will be retained by the Reorganized Debtors.

        12.6    Payment of Statutory Fees.
        The Reorganized Debtors shall be responsible for the timely payment of fees incurred pursuant
to 28 U.S.C. § 1930[a][6] until the clerk of the Bankruptcy Court closes the Chapter 11 Cases. The
Reorganized Debtors shall file with the Court and serve upon the U.S. Trustee a quarterly financial
report for each quarter [or portion thereof] that the case remains open in a format prescribed by the
U.S. Trustee.



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       12.7    Post-Effective Date Fees and Expenses of Professional Persons.
         Except as provided in this Plan, after the Effective Date, the Reorganized Debtors shall, in the
ordinary course of business and without the necessity for any approval by the Bankruptcy Court, pay
the reasonable fees and expenses of the Professional Persons employed by the Reorganized Debtors,
related to the implementation and consummation of the Plan, provided, however, that no such fees and
expenses shall be paid except upon receipt by a Reorganized Debtor of a written invoice, which invoice
shall also be served upon counsel for the Reorganized Debtors, and the United States Trustee, by the
Professional Person seeking fees and expense reimbursement and provided, further, however, that a
Reorganized Debtor may, within 10 days after receipt of an invoice for fees and expenses, request the
Bankruptcy Court to determine any such request and the Bankruptcy Court shall have jurisdiction to do
so. In such event, the Bankruptcy Court shall apply the same standard for approval of fees and
expenses as applied throughout these Chapter 11 Cases.

       12.8    Bankruptcy Restrictions.
         From and after the Effective Date, the Reorganized Debtors shall no longer be subject to the
restrictions and controls provided by the Bankruptcy Code [e.g., section 363 or 364]. The Reorganized
Debtors may conduct their affairs in such manner as is consistent with corporations not in bankruptcy
without the need of seeking Bankruptcy Court approval. No monthly operating reports will be filed
after the Effective Date; however, the Reorganized Debtors shall provide the U.S. Trustee such
financial reports as the U.S. Trustee may reasonably request until the entry of a final decree.

       12.9    Release of Liens Upon Payment.
       Upon the payment in full of any Allowed Secured Claim as provided under this Plan, with the
exception of Allowed Claims of Ad Valorem Taxing Authorities, the holder of such Allowed Secured
Claim shall execute, deliver and file a release of all liens and security interests securing its Allowed
Secured Claim within twenty-one [21] days of such payment.

       12.10   Binding Effect.
        The Plan shall be binding upon and inure to the benefit of the Reorganized Debtors, the
holders of Claims, the holders of Equity Interests, and their respective successors and assigns;
provided, however, that if the Plan is not confirmed, the Plan shall be deemed null and void and
nothing contained herein shall be deemed [i] to constitute a waiver or release of any Claims by the
Debtors, or any other Person, [ii] to prejudice in any manner the rights of the Debtors, or any other
Person, or [iii] to constitute any admission by the Debtors, or any other Person.

       12.11   Governing Law.
        Unless a rule of law or procedure is supplied by federal law [including the Bankruptcy Code and
Bankruptcy Rules], the internal laws of the State of Texas shall govern the construction and
implementation of the Plan and any agreements, documents and instruments executed in connection
with the Plan or the Chapter 11 Cases, except as may otherwise be provided in such agreements,
documents and instruments.




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       12.12   Modification of Plan.
        Modifications of the Plan may be proposed in writing by the Debtors at any time before the
Confirmation Date, provided that [a] the Plan, as modified, meets the requirements of sections 1122
and 1123 of the Bankruptcy Code and [b] the Debtors shall have complied with section 1125 of the
Bankruptcy Code. The Plan may be modified at any time after the Confirmation Date and before
substantial consummation by the Debtors/Reorganized Debtors, provided that [i] the Plan, as
modified, meets the requirements of sections 1122 and 1123 of the Bankruptcy Code, [ii] the
Bankruptcy Court, after notice and a hearing, confirms the Plan as modified, under section 1129 of the
Bankruptcy Code and [iii] the circumstances warrant such modifications. A holder of a Claim that has
accepted or rejected the Plan shall be deemed to have accepted or rejected, as the case may be, such
Plan as modified, unless, within the time fixed by the Bankruptcy Court, such holder changes its
previous acceptance or rejection.

       12.13   Creditor Defaults.
         Any act or omission by a creditor in contravention of a provision within this Plan shall be
deemed an event of default under this Plan. In the event a Reorganized Debtor asserts that a holder of
a Claim is in default under the Plan, such Reorganized Debtor must provide such holder of a Claim
with written notice [“Notice to Creditor”] of such default via overnight mail or similar same-day or
express delivery to the address of such holder as set forth on the proof[s] of Claim filed by such holder
[or at the last known address of such a holder if no proof of Claim is filed or if such Reorganized
Debtor has been notified in writing of a change of address]. If the default asserted in the Notice to
Creditor remains uncured on the fifteenth [15th] day from the date on which such Notice to Creditor is
sent, the Reorganized Debtor may pursue any rights or remedies it may have under applicable
bankruptcy or non-bankruptcy law, whether state, federal or otherwise, including seeking to hold the
defaulting party in contempt of the Confirmation Order. If such creditor is found to be in default
under the Plan, then in addition all other remedies available to the Reorganized Debtors, such party
may be ordered to pay the reasonable attorneys’ fees and costs of the Reorganized Debtor in pursuing
such matter, at the Bankruptcy Court’s discretion. Furthermore, upon the finding of such a default by a
creditor, the Bankruptcy Court may [a] designate a party to appear, sign and/or accept the documents
required under the Plan on behalf of the defaulting party, in accordance with Federal Rule of Civil
Procedure 70 or [b] make such other order as may be equitable which does not materially alter the
terms of the Plan as confirmed.

       12.14   Debtors’ Default.
         Except as otherwise provided in this Plan, in the event that the holder of an Allowed Claim
asserts that a default under the Plan has occurred, such creditor must provide the Reorganized Debtors
with written notice [“Notice”] of such default to the following addresses: c/o Howard Marc Spector,
12770 Coit Road, Suite 1100, Dallas, TX 75251 and c/o Alan Barksdale, 14282 Gillis Rd., Farmers
Branch, TX 75244, via certified mail, overnight mail or similar same-day or express receipted delivery.
If the default asserted in the Notice remains uncured on the fifteenth [15th] day from the date on which
such Notice is sent, the holder of such Allowed Claim may pursue any rights or remedies it may have
under applicable non-bankruptcy law, whether state, federal or otherwise.

       12.15   Severability.
     SHOULD THE BANKRUPTCY COURT DETERMINE THAT ANY PROVISION OF THE PLAN IS
UNENFORCEABLE EITHER ON ITS FACE OR AS APPLIED TO ANY CLAIM OR TRANSACTION, THE




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DEBTORS MAY MODIFY THE PLAN IN ACCORDANCE WITH SECTION 12.12 OF THE PLAN SO THAT
SUCH PROVISION SHALL NOT BE APPLICABLE TO THE HOLDER OF ANY CLAIM. SUCH A
DETERMINATION OF UNENFORCEABILITY SHALL NOT [1] LIMIT OR AFFECT THE ENFORCEABILITY
AND OPERATIVE EFFECT OF ANY OTHER PROVISION OF THE PLAN OR [2] REQUIRE THE
RESOLICITATION OF ANY ACCEPTANCE OR REJECTION OF THE PLAN.

        12.16   Substantial Consummation/Closing the Case.
        Upon initiating payments or distributions on Allowed Claims required to be paid pursuant to
Articles 4 and 5, the Plan shall be deemed substantially consummated. Upon motion by the
Reorganized Debtors, the Chapter 11 Cases shall be closed and the Bankruptcy Court shall issue a final
decree containing such provisions as may be equitable.

        12.17   Integration Clause.
      This Plan is a complete, whole, and integrated statement of the binding agreement between the
Debtors, creditors, and the parties-in-interest upon the matters herein.

        12.18   Exculpations.
Pursuant to Section 1123(b)(3)(A) of the bankruptcy Code, unless a party-in-interest casts a Ballot
rejecting the Plan or objects to this provision of the Plan prior to the Confirmation Hearing, the
payment by the Plan Funder shall be deemed consideration for, and the Confirmation Order shall
provide for, the exculpation of the Debtors, the Plan Funder, the Reorganized Debtors, and their
respective directors, officers, employees, predecessors, successors, attorneys, accountants, financial
advisors, appraisers, representatives and agents (the “Exculpated Entities”), acting in such capacity , for
any act taken or omitted to be taken in connection with, related to or arising out of the Chapter 11
Cases or the consideration, formulation, preparation, dissemination, confirmation, effectuation,
implementation or consummation of the Plan or any transaction proposed in connection with the
Debtors, the Chapter 11 Cases or any contract, instrument, release or other agreement or document
entered into or delivered, or any other act taken or omitted to be taken, in connection therewith;
provided, however that the foregoing provisions of this Section shall have no effect on: (a) the liability
of any Entity that would otherwise result from the failure to perform or pay any obligation or liability
under the Plan or any contract, instrument, release or other agreement or document to be entered into
or delivered in connection with the Plan; or (b) the liability of any Entity that would otherwise result
from any such act or omission to the extent that such act or omission is determined in a Final Order to
have constituted gross negligence or willful misconduct. In the event that a rejecting Ballot is cast or an
objection to the Plan is timely filed by a party-in-interest (an “Opt Out Party”), the Opt Out Party shall
be entitled to assert whatever claims and causes of action such Opt Out Party could assert under
applicable non-bankruptcy law against the Exculpated Entities as if this Section 12.18 of the Plan were
not included in the Plan.


        12.19   Compromise and Settlement.

        Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the distributions and other benefits provided pursuant to the Plan, the provisions of
the Plan shall constitute a good-faith compromise of all Claims and controversies relating to the
contractual, legal and subordination rights that a holder of an Allowed Claim or Interest may have
against any Debtor, or any distribution to be made on account of such an Allowed Claim. Pursuant to


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sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
benefits provided under the Plan and as a mechanism to effect a fair distribution of value to the
Debtors’ constituencies, except as set forth in the Plan, the provisions of the Plan shall also constitute a
good-faith compromise of all Claims and controversies by any Debtor against any other Debtor
(including but not limited to Intercompany Claims). In each case, the entry of the Confirmation Order
shall constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims or
controversies and the Bankruptcy Court’s finding that such compromise or settlement is in the best
interests of the Debtors, their estates and the holders of such Claims and is fair, equitable and
reasonable. In accordance with the provisions of the Plan, pursuant to sections 363 and 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice or action, order or approval
of the Bankruptcy Court, the Debtors may compromise and settle Claims against other Entities and
after the Effective Date, such right shall pass to the Reorganized Debtors.

        DATED:          August 27, 2018.

                                                        Respectfully submitted,

                                                        By:      /s/ Howard Marc Spector
                                                                Howard Marc Spector
                                                                TBA #00785023

                                                        SPECTOR & JOHNSON, PLLC
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                                                        EMAIL: hspector@spectorjohnson.com

                                                        COUNSEL FOR THE DEBTORS




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                                              EXHIBIT B




 EXHIBIT TO DISCLOSURE STATEMENT IN CONNECTION WITH
 DEBTORS’ THIRD AMENDED JOINT PLAN OF REORGANIZATION
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                                        ME            ME            ME            ME            ME                ME                   ME                    ME                      ME                     ME                     ME                      ME
Description                             Jun‐18         Jul‐18       Aug‐18        Sep‐18        Sep‐18               Nov‐18               Dec‐18                  Jan‐19                 Feb‐19                Mar‐19                   Apr‐19                May‐19

Volumes:
PDP Oil Sales, BBL                     715.00        710.00        705.00        705.00        700.00               700.00              700.00                  700.00                 690.00                  690.00                 690.00                 690.00
CapEx Oil Sales, BBL                     0.00          0.00          0.00          0.00          0.00                 0.00            1,050.00                2,003.23               3,932.54                5,302.93              12,184.07              11,579.05
Total Sales, BBL                       715.00        710.00        705.00        705.00        700.00               700.00            1,750.00                2,703.23               4,622.54                5,992.93              12,874.07              12,269.05
BOPD                                                                                                                 22.58               58.33                   87.20                 149.11                  214.03                 415.29                 408.97

Oil Price, $/BBL                     $     58.00   $     60.00   $     62.00   $     62.00   $     61.00               60.00               60.00                   60.00                   59.00                   59.00                   58.00                   58.00

Revenue
Oil and natural gas sales                                                                                       31,500.00          105,000.00              162,193.65             272,729.97             353,582.99              746,695.85             711,605.03

Operating Expenses
Production Taxes                                                                                                     2,295.00          4,893.75             8,377.99           13,921.70           18,200.52           41,310.80           38,708.38
Lease Operating Expenses                                                                                          46,150.00         50,800.00            52,200.00             58,250.00           62,300.00           67,200.00           69,850.00
Total Operating Expenses                                                                                          48,445.00       55,693.75           60,577.99           72,171.70           80,500.52        108,510.80        108,558.38

Gross Cash Flow From Operating                                                                                   (16,945.00)       49,306.25         101,615.66         200,558.26         273,082.46         638,185.05         603,046.65

Capital Expenditures                                                                                          475,000.00           500,000.00              975,000.00             800,000.00           2,000,000.00              300,000.00                       0.00

Cash From Plan                                                                                                  8,333.33             8,333.33                8,333.33               8,333.33               8,333.33                8,333.33                 8,333.33
Cash From CapEx Carry                                                                                         475,000.00           500,000.00              975,000.00             800,000.00           2,000,000.00              300,000.00

Investor Pmt for CapEx Carry                                                                                         0.00            36,979.69              76,211.74             150,418.70             204,811.85              478,638.79             452,284.99
General and Administrative Expense                                                                              70,000.00            70,000.00              70,000.00              70,000.00              70,000.00               70,000.00              70,000.00
RMRI Pmt                                                                                                         8,333.33             8,333.33               8,333.33               8,333.33               8,333.33                8,333.33               8,333.33
XBOR Pmt

Net Cash Flow From All Activities                                                                              (86,945.00)          (57,673.44)            (44,596.09)             (19,860.43)              (1,729.38)             89,546.26              80,761.66

Beginning Unrestricted Cash                                                                                   140,298.09           128,353.09               70,679.65               26,083.57                6,223.13               4,493.75             94,040.01
Ending Unrestricted Cash                                                                                      128,353.09            70,679.65               26,083.57                6,223.13                4,493.75              94,040.01            174,801.67

Beginning Restricted Cash                                                                                     807,722.00           732,722.00              732,722.00             732,722.00             732,722.00              732,722.00             732,722.00
Transfer to Unrestricted Cash                                                                                  75,000.00                 0.00                    0.00                   0.00                   0.00                    0.00                   0.00
Ending Restricted Cash                                                                                        732,722.00           732,722.00              732,722.00             732,722.00             732,722.00              732,722.00             732,722.00

Beginning Cash                                                                                                948,020.09     861,075.09         803,401.65         758,805.57         738,945.13         737,215.75         826,762.01
Total Ending Cash                                                                                             861,075.09     803,401.65         758,805.57         738,945.13         737,215.75         826,762.01         907,523.67




                                                                                                               Exhibit B
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                                             ME                     ME                     ME                      ME                     ME                     ME                     ME                     ME                      ME                     ME                     ME                     ME
Description                                      Jun‐19                  Jul‐19                Aug‐19                 Sep‐19                  Oct‐19                Nov‐19                  Dec‐19                  Jan‐20                Feb‐20                 Mar‐20                  Apr‐20                May‐20

Volumes:
PDP Oil Sales, BBL                             690.00                 690.00                  680.00                 680.00                 680.00                 680.00                  680.00                 680.00                 670.00                 670.00                 670.00                  670.00
CapEx Oil Sales, BBL                        10,599.24               9,807.66                9,150.60               8,593.21               8,113.27               7,696.05                7,327.13               6,999.38               6,704.87               6,439.81               6,198.57                5,977.60
Total Sales, BBL                            11,289.24              10,497.66                9,830.60               9,273.21               8,793.27               8,376.05                8,007.13               7,679.38               7,374.87               7,109.81               6,868.57                6,647.60
BOPD                                           364.17                 349.92                  317.12                 299.14                 293.11                 270.20                  266.90                 247.72

Oil Price, $/BBL                                       58.00                  57.00                  57.00                  57.00                  57.00                  56.00                  56.00                  56.00                  55.00                  55.00                  55.00                  55.00

Revenue
Oil and natural gas sales                 654,775.77             598,366.74             560,344.22              528,572.87             501,216.59             469,058.67             448,399.23             430,045.26              405,617.61             391,039.67             377,771.44             365,617.85

Operating Expenses
Production Taxes                               35,481.13          32,319.92          30,183.98          28,403.16          26,875.00          25,102.67          23,955.42          22,938.97          21,606.44          20,802.98          20,073.13          19,405.77
Lease Operating Expenses                       69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00          69,850.00
Total Operating Expenses                     105,331.13        102,169.92        100,033.98          98,253.16          96,725.00          94,952.67          93,805.42          92,788.97          91,456.44          90,652.98          89,923.13          89,255.77

Gross Cash Flow From Operating               549,444.65        496,196.82        460,310.24        430,319.70        404,491.59        374,106.00        354,593.81        337,256.30        314,161.16        300,386.69        287,848.30        276,362.09

Capital Expenditures                               0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00

Cash From Plan                               8,333.33                8,333.33               8,333.33               8,333.33               8,333.33               6,250.00                6,250.00               6,250.00               6,250.00               6,250.00               6,250.00                6,250.00
Cash From CapEx Carry

Investor Pmt for CapEx Carry              412,083.49             372,147.62             345,232.68              322,739.78             303,368.69             280,579.50             265,945.36             252,942.22              235,620.87             225,290.02             215,886.23             207,271.56
General and Administrative Expense         70,000.00              70,000.00              70,000.00               70,000.00              70,000.00              70,000.00              70,000.00              70,000.00               70,000.00              70,000.00              70,000.00              70,000.00
RMRI Pmt                                    8,333.33               8,333.33               8,333.33                8,333.33               8,333.33
XBOR Pmt                                                                                                                                                         6,250.00                6,250.00               6,250.00               6,250.00               6,250.00               6,250.00                6,250.00

Net Cash Flow From All Activities           67,361.16              54,049.21              45,077.56              37,579.93               31,122.90              23,526.50              18,648.45              14,314.07                8,540.29               5,096.67               1,962.08                 (909.48)

Beginning Unrestricted Cash               174,801.67             242,162.83             296,212.04              341,289.60             378,869.53             409,992.42             433,518.92             452,167.38              466,481.45             475,021.74             480,118.41             482,080.49
Ending Unrestricted Cash                  242,162.83             296,212.04             341,289.60              378,869.53             409,992.42             433,518.92             452,167.38             466,481.45              475,021.74             480,118.41             482,080.49             481,171.01

Beginning Restricted Cash                 732,722.00             732,722.00             732,722.00              732,722.00             732,722.00             732,722.00             732,722.00             732,722.00              732,722.00             732,722.00             732,722.00             732,722.00
Transfer to Unrestricted Cash                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00
Ending Restricted Cash                    732,722.00             732,722.00             732,722.00              732,722.00             732,722.00             732,722.00             732,722.00             732,722.00              732,722.00             732,722.00             732,722.00             732,722.00

Beginning Cash                               907,523.67      974,884.83    1,028,934.04    1,074,011.60    1,111,591.53    1,142,714.42    1,166,240.92    1,184,889.38    1,199,203.45    1,207,743.74    1,212,840.41    1,214,802.49
Total Ending Cash                            974,884.83    1,028,934.04    1,074,011.60    1,111,591.53    1,142,714.42    1,166,240.92    1,184,889.38    1,199,203.45    1,207,743.74    1,212,840.41    1,214,802.49    1,213,893.01




                                                                                                                                        Exhibit B
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                                             ME                      ME                      ME                       ME                      ME                      ME                       ME                       YE                       YE                         YE
Description                                      Jun‐20                    Jul‐20                Aug‐20                   Sep‐20                   Oct‐20                 Nov‐20                   Dec‐20                  Dec‐21                     Dec‐22                     Dec‐23

Volumes:
PDP Oil Sales, BBL                             670.00                   670.00                  660.00                  660.00                   660.00                  660.00                   660.00               7,740.00                   7,560.00                  7,380.00
CapEx Oil Sales, BBL                         5,775.43                 5,587.66                5,414.95                5,254.01                 5,104.58                4,964.44                 4,832.37              48,683.70                  39,062.84                 32,829.84
Total Sales, BBL                             6,445.43                 6,257.66                6,074.95                5,914.01                 5,764.58                5,624.44                 5,492.37
BOPD

Oil Price, $/BBL                                       55.00                   55.00                   55.00                   55.00                   55.00                   55.00                   55.00                   55.00                      55.00                      55.00

Revenue
Oil and natural gas sales                 354,498.38              344,171.17               334,122.39              325,270.77              317,052.11               309,344.01              302,080.56            3,103,303.32              2,564,256.23               2,211,541.19

Operating Expenses
Production Taxes                               18,796.53           18,231.31           17,684.80           17,202.11           16,754.81           16,335.78           15,941.29         163,327.45            134,468.04            115,797.67
Lease Operating Expenses                       69,850.00           69,850.00           69,850.00           69,850.00           69,850.00           69,850.00           69,850.00         827,200.00            827,200.00            827,200.00
Total Operating Expenses                       88,646.53           88,081.31           87,534.80           87,052.11           86,604.81           86,185.78           85,791.29        990,527.45           961,668.04           942,997.67

Gross Cash Flow From Operating               265,851.85         256,089.86         246,587.60         238,218.66         230,447.31         223,158.23         216,289.27     2,112,775.87        1,602,588.19        1,268,543.52

Capital Expenditures                               0.00                     0.00                    0.00                     0.00                    0.00                    0.00                     0.00                    0.00                       0.00                      0.00

Cash From Plan                               6,250.00                 6,250.00                6,250.00                6,250.00                 6,250.00                      0.00                     0.00                    0.00                       0.00                      0.00
Cash From CapEx Carry

Investor Pmt for CapEx Carry              199,388.89                64,022.46               61,646.90                59,554.67               57,611.83               55,789.56                54,072.32             528,193.97                 400,647.05                 317,135.88
General and Administrative Expense         70,000.00                70,000.00               70,000.00                70,000.00               70,000.00               70,000.00                70,000.00             840,000.00                 840,000.00                 840,000.00
RMRI Pmt
XBOR Pmt                                     6,250.00                 6,250.00                6,250.00                6,250.00                 6,250.00

Net Cash Flow From All Activities           (3,537.04)            122,067.39               114,940.70              108,664.00              102,835.48                97,368.67                92,216.95             744,581.90                 361,941.14                 111,407.64

Beginning Unrestricted Cash               481,171.01              477,633.97               599,701.36              714,642.06              823,306.06              926,141.54            1,023,510.21             1,203,100.56              1,947,682.46               2,309,623.60
Ending Unrestricted Cash                  477,633.97              599,701.36               714,642.06              823,306.06              926,141.54            1,023,510.21            1,115,727.16             1,947,682.46              2,309,623.60               2,421,031.24

Beginning Restricted Cash                 732,722.00              732,722.00               732,722.00              732,722.00              732,722.00               732,722.00              732,722.00              732,722.00                 732,722.00                 732,722.00
Transfer to Unrestricted Cash                   0.00                    0.00                     0.00                    0.00                    0.00                     0.00                    0.00                    0.00                       0.00                       0.00
Ending Restricted Cash                    732,722.00              732,722.00               732,722.00              732,722.00              732,722.00               732,722.00              732,722.00              732,722.00                 732,722.00                 732,722.00

Beginning Cash                           1,213,893.01     1,210,355.97     1,332,423.36     1,447,364.06     1,556,028.06     1,658,863.54     1,756,232.21     1,935,822.56        2,680,404.46        3,042,345.60
Total Ending Cash                        1,210,355.97     1,332,423.36     1,447,364.06     1,556,028.06     1,658,863.54     1,756,232.21     1,848,449.16     2,680,404.46        3,042,345.60        3,153,753.24




                                                                                                                          Exhibit B
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                                              EXHIBIT C




 EXHIBIT TO DISCLOSURE STATEMENT IN CONNECTION WITH
 DEBTORS’ THIRD AMENDED JOINT PLAN OF REORGANIZATION
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                                      Liquidation Analysis (by Debtor)

Cross Border
Cash and Cash Equivalents                              $            3,000.00
Restricted Cash                                        $       652,000.00
Accounts Receivable                                    $        269,000.00
Contingent Plugging and Abandonment Liabilities        $   (1,800,000.00)
Less Allowance for Bad Debts                           $      (250,000.00)
Trustee's Liquidation Fees                             $        (14,950.00)
Net Liquidation Value                                  $                      ‐
Dividend on Unsecured Claims                                           0.000%

Red Mountain
Cash and Cash Equivalents                              $                      ‐
Owenrship Interests in Subsidiaries                    $                      ‐
Other Assets                                           $          15,000.00
Trustee's Liquidation Fees                             $           (2,250.00)
Net Liquidation Value                                  $          12,750.00
Scheduled Unsecured Claims                             $       601,256.00
Dividend on Unsecured Claims                                           2.121%

RMR 
Cash and Cash Equivalents                              $            8,000.00
Restricted Cash                                        $       244,000.00
Accounts Receivable                                    $          31,000.00
Real Estate                                            $            5,000.00
Contingent Plugging and Abandonment Liabilities        $      (750,000.00)
Trustee's Liquidation Fees                             $        (15,400.00)
Net Liquidation Value                                  $                      ‐
Dividend on Unsecured Claims                                           0.000%

Black Rock
Cash and Cash Equivalents                              $       213,000.00
Restricted Cash                                        $                      ‐
Accounts Receivable                                    $                      ‐
Real Estate                                            $          55,000.00
Contingent Plugging and Abandonment Liabilities        $      (600,000.00)
Trustee's Liquidation Fees                             $        (16,900.00)
Net Liquidation Value                                  $                      ‐
Dividend on Unsecured Claims                                           0.000%




                                                  Exhibit C
